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                         EXHIBIT G
     Detailed Time Records for O’Kelly Ernst & Bielli, LLC
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      Date                                   Description                                             Category                      Timekeeper      Hours Rate         Amount
01-05-2015   Research regarding pro hac vice motions                                    [ALL] Case Administration               Dougherty, Shannon   0.2 $ 180.00   $    36.00
01-05-2015   Emails with UST and Proskauer re: UST retention issues and call re: same   [ALL] Case Administration               Klauder, David       0.2 $ 350.00   $    70.00
                                                                                        [ALL] Non-OEB Retention and Fee
01-05-2015   Discuss pro hac orders with S. Dougherty                                   Applications                            Klauder, David       0.1 $ 350.00   $    35.00
             Discussions and coordinate re: 1/6 teleconference with UST on retention
                                                                                        [ALL] Case Administration
01-06-2015   issues                                                                                                             Dougherty, Shannon   0.3 $ 180.00   $    54.00
01-06-2015   Research regarding motions to appear PHV                                   [ALL] Case Administration               Dougherty, Shannon   0.4 $ 180.00   $    72.00
01-06-2015   Review pro hac orders and discuss with S. Dougherty                        [ALL] Case Administration               Klauder, David       0.1 $ 350.00   $    35.00
01-06-2015   Emails with UST the: rescheduling of conference call                       [ALL] Case Administration               Klauder, David       0.1 $ 350.00   $    35.00
                                                                                        [ALL] Non-OEB Retention and Fee
01-06-2015   Work on Motions to Appear PHV                                              Applications                            Dougherty, Shannon   0.3 $ 180.00   $    54.00
                                                                                        [ALL] Non-OEB Retention and Fee
01-06-2015   Conference call with co-counsel re: retention app                          Applications                            Klauder, David       0.2 $ 350.00   $    70.00
             Emails with co-counsel re: UST edits to retention and make changes to      [ALL] Non-OEB Retention and Fee
01-06-2015   proposed order                                                             Applications                            Klauder, David       0.4 $ 350.00   $   140.00
                                                                                        [ALL] OEB Retention and Fee
01-06-2015   Email to UST re: conference call on retention app                          Applications                            Klauder, David       0.1 $ 350.00   $    35.00
                                                                                        [ALL] OEB Retention and Fee
01-06-2015   Emails with UST re: retention app conference call                          Applications                            Klauder, David       0.1 $ 350.00   $    35.00
01-07-2015   Schedule Teleconference                                                    [ALL] Case Administration               Dougherty, Shannon   0.1 $ 180.00   $    18.00
             Emails with S. Dougherty to coordinate further conference call with UST and
                                                                                         [ALL] Case Administration
01-07-2015   co-counsel                                                                                                         Klauder, David       0.1 $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-07-2015   Review retention app papers in anticipation of conference call with UST     Applications                           Klauder, David       0.1 $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-07-2015   Conference call with co-counsel and UST re: retention apps                  Applications                           Klauder, David       0.1 $ 350.00   $    35.00
                                                                                         [ALL] OEB Retention and Fee
01-07-2015   Review retention app papers in anticipation of conference call with UST     Applications                           Klauder, David       0.1 $ 350.00   $    35.00
                                                                                         [ALL] OEB Retention and Fee
01-07-2015   Conference call with co-counsel and UST re: retention apps                  Applications                           Klauder, David       0.2 $ 350.00   $    70.00
                                                                                         [ALL] OEB Retention and Fee
01-07-2015   Revisions to retention order                                                Applications                           Klauder, David       0.2 $ 350.00   $    70.00
01-07-2015   Review various bidding procedures motions and objections                    [ALL] Plan and Disclosure Statements   Klauder, David       0.3 $ 350.00   $   105.00
01-08-2015   Review filings by Munger Tolles                                             [ALL] Case Administration              Klauder, David       0.2 $ 350.00   $    70.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-08-2015   Emails and phone call with Pete Young re: supp declaration                  Applications                           Klauder, David       0.2 $ 350.00   $    70.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-08-2015   Review Proskauer supp declaration                                           Applications                           Klauder, David       0.2 $ 350.00   $    70.00
             Review email from Pete Young to UST re: revised orders and supp             [ALL] Non-OEB Retention and Fee
01-08-2015   declaration                                                                 Applications                           Klauder, David       0.1 $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-08-2015   Work on Proskauer Retention Application.                                    Applications                           Huber, Amy           0.5 $ 125.00   $    62.50




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      Date                                    Description                                                  Category                 Timekeeper        Hours   Rate         Amount
             Emails and phone call with Pete Young re: supp declaration filing and            [ALL] Non-OEB Retention and Fee
01-08-2015   proposed orders for retention                                                    Applications                       Klauder, David         0.1 $ 350.00   $      35.00
             Prep revised retention papers for filing and coordinate edits of same with A.    [ALL] Non-OEB Retention and Fee
01-08-2015   Huber                                                                            Applications                       Klauder, David         0.5 $ 350.00   $     175.00
             Emails and phone call with Pete Young re: revised retention papers for           [ALL] Non-OEB Retention and Fee
01-08-2015   Proskauer                                                                        Applications                       Klauder, David         0.1 $ 350.00   $      35.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Draft and edit notices of filing for proposed orders for retentions of Proskauer Applications                       Klauder, David         0.3 $ 350.00   $     105.00
             Coordinate filing of notices of filing for proposed order for retention of
                                                                                              [ALL] Non-OEB Retention and Fee
             Proskauer and second supp declaration and various discussions with S.
                                                                                              Applications
01-08-2015   Dougherty re: same                                                                                                  Klauder, David         0.2 $ 350.00   $      70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Emails with Proskauer re: filing of supplemental retention papers                Applications                       Klauder, David         0.1 $ 350.00   $      35.00
             Work on Notice regarding Revised Proposed Order regarding Retention              [ALL] Non-OEB Retention and Fee
01-08-2015   Application                                                                      Applications                       Dougherty, Shannon     0.6 $ 180.00   $     108.00
                                                                                              [ALL] OEB Retention and Fee
01-08-2015   Review revised OEB order and send to Pete Young                                  Applications                       Klauder, David         0.1 $ 350.00   $      35.00
                                                                                              [ALL] OEB Retention and Fee
01-08-2015   Work on OEB Retention Application.                                               Applications                       Huber, Amy             0.1 $ 125.00   $      12.50
             Emails and phone call with Pete Young re: supp declaration filing and            [ALL] OEB Retention and Fee
01-08-2015   proposed orders for retention                                                    Applications                       Klauder, David         0.1 $ 350.00   $      35.00
             Prep revised retention papers for filing and coordinate edits of same with A. [ALL] OEB Retention and Fee
01-08-2015   Huber                                                                            Applications                       Klauder, David         0.6 $ 350.00   $     210.00
                                                                                              [ALL] OEB Retention and Fee
01-08-2015   Emails and phone call with Pete Young re: revised retention papers for OEB Applications                             Klauder, David         0.1 $ 350.00   $      35.00
                                                                                              [ALL] OEB Retention and Fee
01-08-2015   Draft and edit notices of filing for proposed orders for retention of OEB        Applications                       Klauder, David         0.3 $ 350.00   $     105.00
             Coordinate filing of notices of filing for proposed order for retention of OEB
                                                                                              [ALL] OEB Retention and Fee
             and second supp declaration and various discussions with S. Dougherty re:
                                                                                              Applications
01-08-2015   same                                                                                                                Klauder, David         0.3 $ 350.00   $     105.00
             Review final notices for proposed order and discussions with S. Dougherty [ALL] OEB Retention and Fee
01-08-2015   re: same                                                                         Applications                       Klauder, David         0.3 $ 350.00   $     105.00
                                                                                              [ALL] OEB Retention and Fee
01-08-2015   Review email from fee committee with various fee app guidelines                  Applications                       Klauder, David         0.3 $ 350.00   $     105.00
             Work on Notice regarding Revised Proposed Order regarding Retention              [ALL] OEB Retention and Fee
01-08-2015   Application                                                                      Applications                       Dougherty, Shannon     0.6 $ 180.00   $     108.00
01-09-2015   Review notice of agenda for 1/13 hearing and send to co-counsel                  [ALL] Case Administration          Klauder, David         0.2 $ 350.00   $      70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-09-2015   Work on Notice regarding Retention                                               Applications                       Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                              [ALL] OEB Retention and Fee
01-09-2015   Emails with Epiq re: service of revised retention papers                         Applications                       Klauder, David         0.1 $ 350.00   $      35.00
                                                                                              [ALL] OEB Retention and Fee
01-09-2015   Review Fee Application Guidelines.                                               Applications                       Huber, Amy             0.2 $ 125.00   $      25.00



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      Date                                  Description                                                   Category                   Timekeeper        Hours   Rate         Amount
                                                                                           [ALL] OEB Retention and Fee
01-09-2015   Work on Notice regarding Retention                                            Applications                           Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-11-2015   Review TCEH committee objection to Greenhill retention                        Applications                           Klauder, David         0.2 $ 350.00   $      70.00
01-12-2015   Coordinate hearing binders for 1/13 hearing                                   [ALL] Case Administration              Klauder, David         0.2 $ 350.00   $      70.00
01-12-2015   Review amended agenda                                                         [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-12-2015   Work on retention application binder                                          Applications                           Dougherty, Shannon     0.8 $ 180.00   $     144.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-12-2015   Review retention app and accompanying documents in prep for 1/13 hearing Applications                                Klauder, David         0.1 $ 350.00   $      35.00
             Review UST statement in response to retention app and emails with co-         [ALL] Non-OEB Retention and Fee
01-12-2015   counsel re: same                                                              Applications                           Klauder, David         0.2 $ 350.00   $      70.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-12-2015   Review proposed order for retention of Greenhill                              Applications                           Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
01-12-2015   Work on retention application binder                                          Applications                           Dougherty, Shannon     0.8 $ 180.00   $     144.00
                                                                                           [ALL] OEB Retention and Fee
01-12-2015   Review retention app and accompanying documents in prep for 1/13 hearing Applications                                Klauder, David         0.1 $ 350.00   $      35.00
             Review UST statement in response to retention app and emails with co-         [ALL] OEB Retention and Fee
01-12-2015   counsel re: same                                                              Applications                           Klauder, David         0.2 $ 350.00   $      70.00
             Meet with co-counsel and debtor's counsel after 1/13 hearing in Bankruptcy
                                                                                           [ALL] Case Administration
01-13-2015   Court                                                                                                                Klauder, David         0.5 $ 350.00   $     175.00
             Voicemail from Indiana taxing authority re: service of filings and coordinate
                                                                                           [ALL] Case Administration
01-13-2015   response with S. Dougherty                                                                                           Klauder, David         0.1 $ 350.00   $      35.00
01-13-2015   Prepare documents for delivery to co-counsel                                  [ALL] Case Administration              Dougherty, Shannon     0.1 $ 180.00   $      18.00
01-13-2015   Coordinate delivery of documents for co-counsel                               [ALL] Case Administration              Stephenson, Cory       0.4 $ 120.00   $      48.00
             Prep for 1/13 hearing including retention apps and meet with co-counsel
01-13-2015   prior to hearing                                                              [ALL] Hearings                         Klauder, David         0.9 $ 350.00   $     315.00
01-13-2015   Attend and participate in 1/13 hearing in Bankruptcy Court                    [ALL] Hearings                         Klauder, David         2.6 $ 350.00   $     910.00
                                                                                           [ALL] OEB Retention and Fee
01-13-2015   Confer w/representative of State of Indiana regarding Retention Apps          Applications                           Dougherty, Shannon     0.1 $ 180.00   $      18.00
             Review COC and proposed bidding procedures order along with minutes of
                                                                                           [ALL] Plan and Disclosure Statements
01-13-2015   EFH disinterested directors meeting                                                                                  Klauder, David         0.3 $ 350.00   $     105.00
                                                                                           [ALL] OEB Retention and Fee
01-14-2015   Emails with S. Dougherty and A. Huber re: fee committee/fee app prep          Applications                           Klauder, David         0.1 $ 350.00   $      35.00
01-15-2015   Review amended notice of appointment of creditors committee                   [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-15-2015   Emails with Pete Young re: FA retention                                       Applications                           Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-15-2015   Review retention app for SOLIC                                                Applications                           Klauder, David         0.5 $ 350.00   $     175.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-15-2015   Review RLF fee app and compare with fee app guidelines                        Applications                           Klauder, David         0.4 $ 350.00   $     140.00
01-16-2015   Review Order Scheduling Omnibus Hearing Date                                  [ALL] Case Administration              Huber, Amy             0.1 $ 125.00   $      12.50



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      Date                                     Description                                            Category                    Timekeeper        Hours   Rate         Amount
             Review SOLIC financial advisor retention app and emails with co-counsel re: [ALL] Non-OEB Retention and Fee
01-16-2015   same                                                                        Applications                          Klauder, David         0.3 $ 350.00   $     105.00
             Draft notice of SOLIC financial advisor retention app and emails with A.    [ALL] Non-OEB Retention and Fee
01-16-2015   Huber re: prep for filing of same                                           Applications                          Klauder, David         0.4 $ 350.00   $     140.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Work on SOLIC Capital Advisors' Retention Application.                      Applications                          Huber, Amy             1.2 $ 125.00   $     150.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Review and edit SOLIC financial retention app and coordinate for filing     Applications                          Klauder, David         0.9 $ 350.00   $     315.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with S. Dougherty re: service of SOLIC retention app                 Applications                          Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Various emails with Epiq and J. Madron re: service of SOLIC retention app Applications                            Klauder, David         0.3 $ 350.00   $     105.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with co-counsel re: filing and service of SOLIC retention app        Applications                          Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with co-counsel re: service of SOLIC retention app                   Applications                          Klauder, David         0.1 $ 350.00   $      35.00

                                                                                        [ALL] OEB Retention and Fee
             Review Initial Memorandum / expense reimbursements, Fee Review Process -
                                                                                        Applications
01-16-2015   Development/Timetable and Budgeting and Expenses Memoranda.                                                       Huber, Amy             0.6 $ 125.00   $      75.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   Review Fee App Guidelines                                                  Applications                           Dougherty, Shannon     0.5 $ 180.00   $      90.00
             Conference call with D. Klauder and S. Dougherty to discuss Fee app        [ALL] OEB Retention and Fee
01-16-2015   guidelines and deadlines.                                                  Applications                           Huber, Amy             0.4 $ 125.00   $      50.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   Review fee committee guidelines and interim comp order                     Applications                           Klauder, David         0.4 $ 350.00   $     140.00
             Discussion with S. Dougherty and A. Huber re: fee committee guidelines and [ALL] OEB Retention and Fee
01-16-2015   prep of fee apps                                                           Applications                           Klauder, David         0.5 $ 350.00   $     175.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   EFH Research re LEDES                                                      Applications                           Dougherty, Shannon     0.9 $ 180.00   $     162.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   Confer w/DK re Fee Applications                                            Applications                           Dougherty, Shannon     0.4 $ 180.00   $      72.00
                                                                                        [ALL] OEB Retention and Fee
01-19-2015   Review engagement letter re: fee statements                                Applications                           Klauder, David         0.1 $ 350.00   $      35.00
01-20-2015   Review committee reservation of rights re: asbestos claims                 [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                        [ALL] OEB Retention and Fee
01-20-2015   Correspond w/ED regarding LEDES                                            Applications                           Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                        [ALL] OEB Retention and Fee
01-20-2015   Correspond w/TB regarding retention application process                    Applications                           Dougherty, Shannon     0.2 $ 180.00   $      36.00
01-21-2015   Review exclusivity motion                                                  [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
01-22-2015   Review agenda for 1/26 hearing                                             [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
             Review email from Pete Young re: Kirkland phone call and info on fee apps [ALL] Non-OEB Retention and Fee
01-22-2015   and coordinate with S. Dougherty                                           Applications                           Klauder, David         0.2 $ 350.00   $      70.00




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      Date                                   Description                                                Category                 Timekeeper        Hours   Rate         Amount
             Review slides regarding fee applications in preparation for 1/23             [ALL] OEB Retention and Fee
01-22-2015   teleconference                                                               Applications                        Dougherty, Shannon     0.1 $ 180.00   $      18.00
             Review email from Pete Young re: Kirkland phone call and info on fee app     [ALL] OEB Retention and Fee
01-22-2015   and coordinate with S. Dougherty                                             Applications                        Klauder, David         0.1 $ 350.00   $      35.00
01-23-2015   Updated client file with new documents                                       [ALL] Case Administration           Stephenson, Cory       0.1 $ 120.00   $      12.00
                                                                                          [ALL] Non-OEB Retention and Fee
01-23-2015   Conference call with Kirkland and other counsel re: fee app procedures       Applications                        Klauder, David         0.7 $ 350.00   $     245.00
                                                                                          [ALL] OEB Retention and Fee
01-23-2015   Review emails from Kirkland with attachments re: fee app procedures          Applications                        Klauder, David         0.3 $ 350.00   $     105.00
                                                                                          [ALL] OEB Retention and Fee
01-23-2015   Discuss fee app procedures with S. Dougherty                                 Applications                        Klauder, David         0.3 $ 350.00   $     105.00
                                                                                          [ALL] OEB Retention and Fee
01-23-2015   Review slides in preparation for teleconference regarding fee applicaitons   Applications                        Dougherty, Shannon     0.4 $ 180.00   $      72.00
                                                                                          [ALL] OEB Retention and Fee
01-23-2015   Participate in teleconference regarding fee applications                     Applications                        Dougherty, Shannon     0.6 $ 180.00   $     108.00
                                                                                          [ALL] OEB Retention and Fee
01-23-2015   Confer w/DK regarding fee applications                                       Applications                        Dougherty, Shannon     0.1 $ 180.00   $      18.00
01-25-2015   Review of various filings in the case                                        [ALL] Case Administration           Klauder, David         0.2 $ 350.00   $      70.00
             Confer w/texas counsel to century geophysical corp. regarding executory      [ALL] Exec. Contracts & Unexpired
01-26-2015   contract                                                                     Leases                              Dougherty, Shannon     0.3 $ 180.00   $      54.00
             Voicemail from atty in Tyler, TX re: executory contract and coordinate       [ALL] Exec. Contracts & Unexpired
01-26-2015   forwarding with S. Dougherty to debtor's main counsel                        Leases                              Klauder, David         0.2 $ 350.00   $      70.00
                                                                                          [ALL] Non-OEB Retention and Fee
01-26-2015   Review various fee filings in the case                                       Applications                        Klauder, David         0.2 $ 350.00   $      70.00
             Review debtor procedures on fee apps and discuss with S. Dougherty and       [ALL] OEB Retention and Fee
01-26-2015   office mgr                                                                   Applications                        Klauder, David         0.5 $ 350.00   $     175.00
                                                                                          [ALL] OEB Retention and Fee
01-26-2015   Work on First Monthly Fee Application                                        Applications                        Dougherty, Shannon     0.7 $ 180.00   $     126.00
                                                                                          [ALL] Non-OEB Retention and Fee
01-27-2015   Emails with co-counsel re: fee apps and budgeting issues                     Applications                        Klauder, David         0.2 $ 350.00   $      70.00
                                                                                          [ALL] Non-OEB Retention and Fee
01-28-2015   Review email from co-counsel re: budgeting and fee apps                      Applications                        Klauder, David         0.2 $ 350.00   $      70.00
                                                                                          [ALL] Non-OEB Retention and Fee
01-28-2015   Review Cravath fee app                                                       Applications                        Klauder, David         0.1 $ 350.00   $      35.00
                                                                                          [ALL] OEB Retention and Fee
01-28-2015   Discuss preparation of fee app with S. Dougherty                             Applications                        Klauder, David         0.1 $ 350.00   $      35.00
                                                                                          [ALL] OEB Retention and Fee
01-28-2015   Confer w/W. Dalton re LEDES Invoices                                         Applications                        Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                          [ALL] OEB Retention and Fee
01-28-2015   Correspond and confer w/DK regarding fee applications                        Applications                        Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                          [ALL] OEB Retention and Fee
01-28-2015   Review email from Kirkland re: fee app prep                                  Applications                        Klauder, David         0.1 $ 350.00   $      35.00




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      Date                                  Description                                                   Category                   Timekeeper        Hours   Rate         Amount
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Discussions with S. Dougherty and Eva re: time entries and fee app prep       Applications                           Klauder, David         0.3 $ 350.00   $     105.00
                                                                                           [ALL] OEB Retention and Fee
01-29-2015   Review time entries and discuss fee app prep with S. Dougherty and Eva        Applications                           Klauder, David         0.3 $ 350.00   $     105.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-30-2015   Work on Proskauer's 1st Monthly Fee Application.                              Applications                           Huber, Amy             1.1 $ 125.00   $     137.50
             Emails and voicemail with UST and co-cousnel re: SOLIC retention app and [ALL] Non-OEB Retention and Fee
01-30-2015   obj deadline                                                                  Applications                           Klauder, David         0.3 $ 350.00   $     105.00
             Review of Proskauer's first monthly fee stmt and emails with co-counsel re: [ALL] Non-OEB Retention and Fee
01-30-2015   same                                                                          Applications                           Klauder, David         0.3 $ 350.00   $     105.00
             Final review and editing of Proskauer fee stmts and coordinate filing and     [ALL] Non-OEB Retention and Fee
01-30-2015   service of same                                                               Applications                           Klauder, David         0.4 $ 350.00   $     140.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-30-2015   Emails with co-counsel re: filing of Proskauer fee stmts                      Applications                           Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Correspond w/ED and DK regarding Fee Application                              Applications                           Dougherty, Shannon     0.3 $ 180.00   $      54.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Work on First Monthly Fee Application                                         Applications                           Dougherty, Shannon     5.6 $ 180.00   $ 1,008.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Work on OEB's 1st Monthly Fee Application.                                    Applications                           Huber, Amy             1.8 $ 125.00   $     225.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Review of OEB's first monthly fee stmt and coordinate prep of same            Applications                           Klauder, David         0.5 $ 350.00   $     175.00
             Various emails and discussions with S. Dougherty re: drafting of OEB          [ALL] OEB Retention and Fee
01-30-2015   monthly fee stmt                                                              Applications                           Klauder, David         0.3 $ 350.00   $     105.00
             Final review and editing of OEB fee stmt and coordinate filing and service of [ALL] OEB Retention and Fee
01-30-2015   same                                                                          Applications                           Klauder, David         0.4 $ 350.00   $     140.00
                                                                                           [ALL] Non-OEB Retention and Fee
02-03-2015   Review Munger Tolles fee stmt                                                                                        Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-03-2015   Phone call with UST re: SOLIC retention app                                                                          Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           Applications
02-03-2015   Review WSFS objection to exclusivity                                          [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
02-04-2015   Review exclusivity objections                                                 [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
02-05-2015   Updated client file with new documents                                        [ALL] Case Administration              Stephenson, Cory       0.1 $ 120.00   $      12.00
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Review and respond to email from UST re: SOLIC retention app comments                                                Klauder, David         0.2 $ 350.00   $      70.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Emails with co-counsel re: SOLIC retention app and UST comments                                                      Klauder, David         0.2 $ 350.00   $      70.00
                                                                                           Applications
             Review revised retention order for SOLIC and emails with co-counsel and       [ALL] Non-OEB Retention and Fee
02-05-2015                                                                                                                        Klauder, David         0.3 $ 350.00   $     105.00
             UST re: same                                                                  Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Draft and work on COC regarding SOLIC Retention Application                                                          Dougherty, Shannon     0.9 $ 180.00   $     162.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Confer with S. Dougherty regarding COC to SOLIC Retention App.                                                       Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                           Applications



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      Date                                 Description                                                Category                   Timekeeper        Hours   Rate         Amount
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Further emails with UST and co-counsel re: sign off of SOLIC retention                                           Klauder, David         0.1 $ 350.00   $      35.00
                                                                                       Applications
             Review and edit COC for SOLIC retention and coordinate prep and filing of [ALL] Non-OEB Retention and Fee
02-05-2015                                                                                                                    Klauder, David         0.4 $ 350.00   $     140.00
             same with S. Dougherty                                                    Applications
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Emails with J. Madron at RLF re: COC for SOLIC retention a                                                       Klauder, David         0.1 $ 350.00   $      35.00
                                                                                       Applications
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Review UCC professionals fee apps                                                                                Klauder, David         0.1 $ 350.00   $      35.00
                                                                                       Applications
02-05-2015   Review EFH committee response to exclusivity                              [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
02-06-2015   Emails with co-counsel re: 2/10 hearing                                   [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
02-06-2015   Confer w/teleconference company regarding 2/10 hearing                    [ALL] Case Administration              Dougherty, Shannon     0.4 $ 180.00   $      72.00
02-06-2015   Review notice of agenda for 2/10 hearing                                  [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
02-06-2015   Updated client file with new documents                                    [ALL] Case Administration              Stephenson, Cory       0.1 $ 120.00   $      12.00
                                                                                       [ALL] Non-OEB Retention and Fee
02-06-2015   Review signed SOLIC retention order and emails with co-counsel re: same                                          Klauder, David         0.2 $ 350.00   $      70.00
                                                                                       Applications
02-06-2015   Review exclusivity papers filed by debtor, including revised order        [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
02-06-2015   Review reservation of rights on exclusivity                               [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
02-08-2015   Review response to exclusivity                                            [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
02-09-2015   Emails with co-counsel and S. Dougherty re: attendance at 2/10 hearing    [ALL] Case Administration              Klauder, David         0.2 $ 350.00   $      70.00
02-09-2015   Review amended agenda for 2/10 hearing                                    [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
02-09-2015   Confer w/teleconference company regarding 2/10 hearing                    [ALL] Case Administration              Dougherty, Shannon     0.2 $ 180.00   $      36.00
             Review of interim fee app guidelines and calendar and discuss with S.     [ALL] Non-OEB Retention and Fee
02-09-2015                                                                                                                    Klauder, David         0.2 $ 350.00   $      70.00
             Dougherty                                                                 Applications
                                                                                       [ALL] Non-OEB Retention and Fee
02-09-2015   Review procedures regarding interim fee applications                                                             Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                       Applications
                                                                                       [ALL] OEB Retention and Fee
02-09-2015   Review letter from fee committee re: first monthly fee stmt                                                      Klauder, David         0.1 $ 350.00   $      35.00
                                                                                       Applications
02-09-2015   Review debtor reply to exclusivity responses                              [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
02-10-2015   Emails with co-counsel and S. Dougherty re: transcript for 2/10 hearing   [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
02-10-2015   Prep for court                                                            [ALL] Case Administration              Klauder, David         0.4 $ 350.00   $     140.00
02-10-2015   Attend hearing on exclusivity and other omnibus matters                   [ALL] Case Administration              Klauder, David         2.1 $ 350.00   $     735.00
02-10-2015   Research regarding 2/10/15 hearing                                        [ALL] Case Administration              Dougherty, Shannon     0.3 $ 180.00   $      54.00
                                                                                       [ALL] OEB Retention and Fee
02-10-2015   Discuss interim fee app with S. Dougherty                                                                        Klauder, David         0.2 $ 350.00   $      70.00
                                                                                       Applications
                                                                                       [ALL] OEB Retention and Fee
02-10-2015   Research in preparation to draft interim fee application                                                         Dougherty, Shannon     1.2 $ 180.00   $     216.00
                                                                                       Applications
                                                                                       [ALL] OEB Retention and Fee
02-10-2015   Prepare and work on OEB's 1st Interim Fee Application.                                                           Huber, Amy             1.2 $ 125.00   $     150.00
                                                                                       Applications
                                                                                       [ALL] OEB Retention and Fee
02-11-2015   Correspond w/RE and ED regarding January Monthly Fee Application                                                 Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                       Applications
                                                                                       [ALL] OEB Retention and Fee
02-11-2015   Work on OEB's 1st Interim Fee Application.                                                                       Huber, Amy             2.2 $ 125.00   $     275.00
                                                                                       Applications




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      Date                                     Description                                           Category                  Timekeeper        Hours   Rate         Amount
                                                                                        [ALL] OEB Retention and Fee
02-11-2015   Work on Interim Fee Application                                                                                Dougherty, Shannon     0.6 $ 180.00   $     108.00
                                                                                        Applications
02-12-2015   Review docket for hearing list                                             [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $      35.00
02-12-2015   Emails with S. Dougherty re: 2/10 hearing transcript                       [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $      35.00
02-12-2015   Review of agenda for 2/17 hearing                                          [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $      35.00
02-12-2015   Updated client file with new documents                                     [ALL] Case Administration           Stephenson, Cory       0.1 $ 120.00   $      12.00
02-12-2015   Review transcript for 2/10 hearing and emails to co-counsel re: same       [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $      35.00
02-12-2015   Research regarding 2/10 transcript                                         [ALL] Case Administration           Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                        [ALL] OEB Retention and Fee
02-12-2015   Review and edit time entries for interim fee app                                                               Klauder, David         0.2 $ 350.00   $      70.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-12-2015   Work on OEB's 1st Interim Fee Application.                                                                     Huber, Amy             1.9 $ 125.00   $     237.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-12-2015   Review draft of interim fee app                                                                                Klauder, David         0.2 $ 350.00   $      70.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-12-2015   Review and work on OEB’s Interim Fee App                                                                       Dougherty, Shannon     1.6 $ 180.00   $     288.00
                                                                                        Applications
02-13-2015   Review of partial lien repayment motion                                    [ALL] Case Administration           Klauder, David         0.2 $ 350.00   $      70.00
                                                                                        [ALL] OEB Retention and Fee
02-13-2015   Work on OEB's 1st Interim Fee Application.                                                                     Huber, Amy             0.5 $ 125.00   $      62.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-13-2015   Prepare and work on OEB's 2nd Monthly Fee Statement.                                                           Huber, Amy             1.0 $ 125.00   $     125.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-13-2015   Draft Interim Fee App                                                                                          Dougherty, Shannon     1.9 $ 180.00   $     342.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-13-2015   Review interim fee app and discuss issues with S. Dougherty                                                    Klauder, David         0.4 $ 350.00   $     140.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-15-2015   Edits to interim fee app                                                                                       Klauder, David         0.5 $ 350.00   $     175.00
                                                                                        Applications
02-16-2015   Updates client file with new documents                                     [ALL] Case Administration           Stephenson, Cory       0.1 $ 120.00   $      12.00
                                                                                        [ALL] Non-OEB Retention and Fee
02-16-2015   Work on SOLIC retention App                                                                                    Dougherty, Shannon     2.1 $ 180.00   $     378.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-16-2015   Work on OEB's 1st Interim Fee Application.                                                                     Huber, Amy             2.5 $ 125.00   $     312.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-16-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                       Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-16-2015   Edits to first interim fee app and discuss with S. Dougherty                                                   Klauder, David         0.4 $ 350.00   $     140.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-16-2015   Review and edit first interim fee app and exhibits                                                             Klauder, David         0.3 $ 350.00   $     105.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-16-2015   Discuss blended hourly rates with E. DeVincentis                                                               Klauder, David         0.1 $ 350.00   $      35.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
02-17-2015   Emails with co-counsel re: prep and filing of Proskauer interim fee app                                        Klauder, David         0.2 $ 350.00   $      70.00
                                                                                        Applications




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      Date                                  Description                                               Category                 Timekeeper        Hours   Rate         Amount
             Various emails and discussions with S. Dougherty re: prep and filing of     [ALL] Non-OEB Retention and Fee
02-17-2015                                                                                                                  Klauder, David         0.2 $ 350.00   $      70.00
             Proskauer interim fee app                                                   Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-17-2015   Review and edit Proskauer interim fee app and coordinate filing of same                                        Klauder, David         0.3 $ 350.00   $     105.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-17-2015   Work on Proskauer's 1st Interim Fee Application.                                                               Huber, Amy             0.4 $ 125.00   $      50.00
                                                                                         Applications
             Review filings for interim fee app and coordinate service of same to notice [ALL] Non-OEB Retention and Fee
02-17-2015                                                                                                                  Klauder, David         0.1 $ 350.00   $      35.00
             parties and fee committee                                                   Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Review and work on OEB’s Interim Fee App                                                                       Dougherty, Shannon     3.9 $ 180.00   $     702.00
                                                                                         Applications
             Various emails and discussions with S. Dougherty re: prep and filing of OEB [ALL] OEB Retention and Fee
02-17-2015                                                                                                                  Klauder, David         0.2 $ 350.00   $      70.00
             interim fee app                                                             Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Review and edit OEB interim fee app and coordinate filing of same                                              Klauder, David         0.3 $ 350.00   $     105.00
                                                                                         Applications
             Review filings for interim fee app and coordinate service of same to notice [ALL] OEB Retention and Fee
02-17-2015                                                                                                                  Klauder, David         0.1 $ 350.00   $      35.00
             parties and fee committee                                                   Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Emails with co-counsel re: filing of interim fee apps                                                          Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Review emails with Epiq re: service of fee app                                                                 Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications
02-18-2015   Work on Amended Schedules                                                   [ALL] Case Administration          Dougherty, Shannon     0.9 $ 180.00   $     162.00
02-18-2015   Review notice of hearing                                                    [ALL] Case Administration          Klauder, David         0.1 $ 350.00   $      35.00
             Review notice of amended schedules for EFH received from co-counsel and
02-18-2015                                                                               [ALL] Case Administration          Klauder, David         0.3 $ 350.00   $     105.00
             emails with co-counsel re: same
02-18-2015   Coordinate filing and service of notice of amended schedules for EFH        [ALL] Case Administration          Klauder, David         0.3 $ 350.00   $     105.00
                                                                                         [ALL] OEB Retention and Fee
02-18-2015   Review letter from fee committee re: budgets                                                                   Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications
02-19-2015   Confer with S. Dougherty and review Schedule F.                             [ALL] Case Administration          Huber, Amy             0.4 $ 125.00   $      50.00
02-19-2015   Emails with S. Dougherty re: service of schedule amendments                 [ALL] Case Administration          Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         [ALL] OEB Retention and Fee
02-19-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                       Huber, Amy             0.5 $ 125.00   $      62.50
                                                                                         Applications
             Confer with D. Klauder and S. Dougherty regarding upcoming deadline to      [ALL] OEB Retention and Fee
02-19-2015                                                                                                                  Huber, Amy             0.1 $ 125.00   $      12.50
             file Monthly Fee App.                                                       Applications
                                                                                         [ALL] OEB Retention and Fee
02-19-2015   Emails with A. Huber re: January time invoices                                                                 Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications
             Continue reviewing Schedule F and correspondence with S. Dougherty
02-20-2015                                                                               [ALL] Case Administration          Huber, Amy             0.3 $ 125.00   $      37.50
             regarding same.
02-20-2015   Review District court appeal decision                                       [ALL] Case Administration          Klauder, David         0.2 $ 350.00   $      70.00
02-20-2015   Review various motions for standing to pursue causes of action              [ALL] Case Administration          Klauder, David         0.3 $ 350.00   $     105.00
02-20-2015   Correspond w/Epiq regarding amended schedule F                              [ALL] Case Administration          Dougherty, Shannon     0.1 $ 180.00   $      18.00
02-23-2015   Research regarding CNO                                                      [ALL] Case Administration          Dougherty, Shannon     0.1 $ 180.00   $      18.00
02-23-2015   Work on Notice of Withdrawal regarding Amended Schedules                    [ALL] Case Administration          Dougherty, Shannon     0.4 $ 180.00   $      72.00




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      Date                                    Description                                                 Category                 Timekeeper        Hours   Rate         Amount
             Correspond w/co-counsel regarding Notice of Withdrawal regarding
02-23-2015                                                                                 [ALL] Case Administration            Dougherty, Shannon     0.1 $ 180.00   $      18.00
             Amended Schedules,
             Review emails from co-counsel re: filings for today and coordinate with S.
02-23-2015                                                                                 [ALL] Case Administration            Klauder, David         0.2 $ 350.00   $      70.00
             Dougherty on preparation
02-23-2015   Various emails with S. Dougherty re: filings for today                        [ALL] Case Administration            Klauder, David         0.2 $ 350.00   $      70.00
             Correspond w/co-counsel regarding SOLIC Monthly Fee Statement and             [ALL] OEB Retention and Fee
02-23-2015                                                                                                                      Dougherty, Shannon     0.1 $ 180.00   $      18.00
             CNOs to OEB and Proskauer's Fee Applications                                  Applications
             Draft and work on Certificate of No Objection to First Monthly Fee            [ALL] OEB Retention and Fee
02-23-2015                                                                                                                      Dougherty, Shannon     0.7 $ 180.00   $     126.00
             Application                                                                   Applications
                                                                                           [ALL] OEB Retention and Fee
02-23-2015   Work on Monthly Fee Statement                                                                                      Dougherty, Shannon     0.7 $ 180.00   $     126.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-23-2015   Review CNOs for fee apps                                                                                           Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           Applications
02-24-2015   Discuss status of open matters with S. Dougherty                              [ALL] Case Administration            Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           [ALL] Non-OEB Retention and Fee
02-24-2015   Work on SOLIC Capital Advisors, LLC's 1st Monthly Fee Statement.                                                   Huber, Amy             0.2 $ 125.00   $      25.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-24-2015   Work on SOLIC Fee Application                                                                                      Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                           Applications
             Review SOLIC monthly fee statement and discuss filing of same with S.         [ALL] Non-OEB Retention and Fee
02-24-2015                                                                                                                      Klauder, David         0.2 $ 350.00   $      70.00
             Dougherty                                                                     Applications
                                                                                           [ALL] OEB Retention and Fee
02-24-2015   Work on OEB's Monthly Fee Invoice Statement.                                                                       Huber, Amy             0.8 $ 125.00   $     100.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-24-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                           Huber, Amy             0.5 $ 125.00   $      62.50
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-24-2015   Review and edit January monthly fee app                                                                            Klauder, David         0.4 $ 350.00   $     140.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-24-2015   Correspond w/AH regarding Monthly Fee Invoice Statement                                                            Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-24-2015   Research regarding fee applications                                                                                Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-25-2015   Correspond with client regarding retained professional's payment package                                           Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-25-2015   Review fee statement for company                                                                                   Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-25-2015   Review Monthly Fee Invoice Statement                                                                               Dougherty, Shannon     0.3 $ 180.00   $      54.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-25-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                           Huber, Amy             1.0 $ 125.00   $     125.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-25-2015   Review January monthly fee statement                                                                               Klauder, David         0.1 $ 350.00   $      35.00
                                                                                           Applications
02-26-2015   Review second lien response to payment motion                                 [ALL] Case Administration            Klauder, David         0.2 $ 350.00   $      70.00
02-26-2015   Review response to pay down motion                                            [ALL] Case Administration            Klauder, David         0.1 $ 350.00   $      35.00




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      Date                                    Description                                               Category                   Timekeeper        Hours    Rate          Amount
                                                                                           [ALL] OEB Retention and Fee
02-26-2015   Review Monthly Fee Statement                                                                                       Dougherty, Shannon     0.4 $ 180.00     $      72.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-26-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                           Huber, Amy             0.3 $ 125.00     $      37.50
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-26-2015   Emails re: Jan monthly fee statement                                                                               Klauder, David         0.1 $ 350.00     $      35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-27-2015   Work on Proskauer's 2nd Monthly Fee Statement.                                                                     Huber, Amy             0.5 $ 125.00     $      62.50
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-27-2015   Review of Proskauer fee app and coordination re: filing                                                            Klauder, David         0.3 $ 350.00     $     105.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-27-2015   Review various emails re: filing of fee app                                                                        Klauder, David         0.1 $ 350.00     $      35.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-27-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                           Huber, Amy             0.3 $ 125.00     $      37.50
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-27-2015   Work on Monthly Fee Statement                                                                                      Dougherty, Shannon     0.6 $ 180.00     $     108.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-27-2015   Review of OEB fee app and coordination re: filing                                                                  Klauder, David         0.2 $ 350.00     $      70.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
02-27-2015   Review various emails re: filing of fee app                                                                        Klauder, David         0.1 $ 350.00     $      35.00
                                                                                           Applications
02-28-2015   Review of recent filings in the case                                          [ALL] Case Administration            Klauder, David          0.1 $ 350.00    $      35.00
03-03-2015   Review notice of telephonic hearing                                           [ALL] Case Administration            Klauder, David        0.1 $ 350.00      $      35.00
03-03-2015   Review various responses to standing motions                                  [ALL] Case Administration            Klauder, David        0.5 $ 350.00      $     175.00
03-04-2015   Review debtor response to standing motions                                    [ALL] Case Administration            Klauder, David        0.4 $ 350.00      $     140.00
             Review recent filings in the case, including further responses to standing
03-04-2015                                                                                 [ALL] Case Administration            Klauder, David        0.1    $ 350.00   $      35.00
             motions
03-05-2015   Review notices of hearing and various filings in the case                     [ALL] Case Administration            Klauder, David        0.2    $ 350.00   $      70.00
03-06-2015   Review fee app filings in the case                                            [ALL] Case Administration            Klauder, David        0.1    $ 350.00   $      35.00
03-06-2015   Review agenda for 3/10 hearing                                                [ALL] Case Administration            Klauder, David        0.1    $ 350.00   $      35.00
03-09-2015   Review recent filings in the case related to 3/10 hearing including agenda    [ALL] Case Administration            Klauder, David        0.1    $ 350.00   $      35.00
03-09-2015   Emails with co-counsel re: 3/10 hearing                                       [ALL] Case Administration            Klauder, David        0.1    $ 350.00   $      35.00
03-09-2015   Coordinate appearances of co-counsel for 3/10 hearing                         [ALL] Case Administration            Klauder, David        0.3    $ 350.00   $     105.00
03-09-2015   Review revised partial repayment order                                        [ALL] Case Administration            Klauder, David        0.1    $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
03-09-2015   Review memo from fee app committee                                                                                 Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
03-09-2015   Review of email and memo from Fee committee                                                                        Klauder, David        0.1    $ 350.00   $      35.00
                                                                                           Applications
03-10-2015   Review of amended agenda and other filings in prep for hearing                [ALL] Case Administration            Klauder, David        0.2    $ 350.00   $      70.00
03-10-2015   Attend 3/10 omnibus hearing                                                   [ALL] Case Administration            Klauder, David        2.0    $ 350.00   $     700.00
03-10-2015   Review notice of continued hearing and review upcoming hearing schedule       [ALL] Case Administration            Klauder, David        0.1    $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
03-10-2015   Confer w/client regarding fee application                                                                          Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                           Applications



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      Date                                 Description                                                 Category                   Timekeeper        Hours    Rate          Amount
                                                                                        [ALL] OEB Retention and Fee
03-10-2015   Review fee committee's recent memo on rate increases                                                              Klauder, David        0.1    $ 350.00   $      35.00
                                                                                        Applications
03-11-2015   Review notice of agenda for 3/13 hearing                                   [ALL] Case Administration              Klauder, David        0.1    $ 350.00   $      35.00
03-11-2015   Review of proposed confirmation timeline                                   [ALL] Plan and Disclosure Statements   Klauder, David        0.1    $ 350.00   $      35.00
03-11-2015   Review of proposed plan term sheet                                         [ALL] Plan and Disclosure Statements   Klauder, David        0.3    $ 350.00   $     105.00
             Check Docket to determine if responses/objections have been filed to       [ALL] Non-OEB Retention and Fee
03-12-2015                                                                                                                     Huber, Amy            0.1    $ 125.00   $      12.50
             Proskauer's 1st Interim Fee App.                                           Applications
             Check Docket to determine if responses/objections have been filed to OEB's [ALL] OEB Retention and Fee
03-12-2015                                                                                                                     Huber, Amy            0.1    $ 125.00   $      12.50
             1st Interim Fee App.                                                       Applications
                                                                                        [ALL] OEB Retention and Fee
03-12-2015   Review memorandum from fee committee regarding interim fee applications                                           Dougherty, Shannon    0.5    $ 180.00   $      90.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
03-12-2015   Correspond w/DK and AH regarding February MFS                                                                     Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                        Applications
03-13-2015   Review of fee app filings in the case                                      [ALL] Case Administration              Klauder, David        0.1    $ 350.00   $      35.00
03-16-2015   Review letters re: discovery protocol                                      [ALL] Case Administration              Klauder, David        0.1    $ 350.00   $      35.00
                                                                                        [ALL] Non-OEB Retention and Fee
03-16-2015   Review and work on Supplemental Declaration to Proskauer's Retention App                                          Dougherty, Shannon    0.5    $ 180.00   $      90.00
                                                                                        Applications
             Work on 3rd Supplemental Declaration of Jeff Marwil in Support of Debtor's [ALL] Non-OEB Retention and Fee
03-16-2015                                                                                                                     Huber, Amy            0.5    $ 125.00   $      62.50
             Application to Employ Proskauer Rose.                                      Applications
             Correspond w/service company regarding service of Supplemental             [ALL] Non-OEB Retention and Fee
03-16-2015                                                                                                                     Dougherty, Shannon    0.2    $ 180.00   $      36.00
             Declaration to Proskauer's Retention App                                   Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-16-2015   Review Proskauer's supp declaration and coordinate filing of same                                                 Klauder, David        0.2    $ 350.00   $      70.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
03-16-2015   Prepare and work on OEB's 3rd Monthly Fee Statement.                                                              Huber, Amy            0.8    $ 125.00   $     100.00
                                                                                        Applications
03-18-2015   Review filings in the case including letter on discovery                   [ALL] Case Administration              Klauder, David        0.1    $ 350.00   $      35.00
03-19-2015   Review notice of telephonic hearing                                        [ALL] Case Administration              Klauder, David        0.1    $ 350.00   $      35.00
03-23-2015   Review filings in the case                                                 [ALL] Case Administration              Klauder, David        0.1    $ 350.00   $      35.00
                                                                                        [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNOs regarding Fee Applications                                                                           Dougherty, Shannon    0.3    $ 180.00   $      54.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-23-2015   Emails with co-counsel re: CNOs for fee apps                                                                      Klauder, David        0.1    $ 350.00   $      35.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNO re: Proskauer's 2nd Monthly Fee Statement.                                                            Huber, Amy            0.2    $ 125.00   $      25.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNO re: SOLIC's 1st Monthly Fee Statement.                                                                Huber, Amy            0.2    $ 125.00   $      25.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-23-2015   Review CNOs and coordinate filing of same                                                                         Klauder, David        0.1    $ 350.00   $      35.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
03-23-2015   Work on CNOs regarding Fee Applications                                                                           Dougherty, Shannon    0.3    $ 180.00   $      54.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
03-23-2015   Prepare and work on CNO re: OEB's 2nd Monthly Fee Statement.                                                      Huber, Amy            0.6    $ 125.00   $      75.00
                                                                                        Applications




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      Date                                 Description                                                 Category               Timekeeper        Hours    Rate          Amount
                                                                                         [ALL] OEB Retention and Fee
03-23-2015   Review CNOs and coordinate filing of same                                                                     Klauder, David        0.1    $ 350.00   $      35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-23-2015   Work on Monthly Fee Invoice Statement                                                                         Dougherty, Shannon    0.4    $ 180.00   $      72.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-23-2015   Review OEB fee app information                                                                                Klauder, David        0.1    $ 350.00   $      35.00
                                                                                         Applications
03-24-2015   Review filings in the case                                                  [ALL] Case Administration         Klauder, David        0.1    $ 350.00   $      35.00
03-24-2015   Review various filings in case                                              [ALL] Case Administration         Klauder, David        0.1    $ 350.00   $      35.00
03-25-2015   Review debtor's lease rejection motion                                      [ALL] Case Administration         Klauder, David        0.1    $ 350.00   $      35.00
03-25-2015   Review notice of telephonic hearing                                         [ALL] Case Administration         Klauder, David        0.1    $ 350.00   $      35.00
03-26-2015   Review agenda for 3/30 hearing                                              [ALL] Case Administration         Klauder, David        0.1    $ 350.00   $      35.00
03-26-2015   Review decision on EFIH note dispute                                        [ALL] Case Administration         Klauder, David        0.2    $ 350.00   $      70.00
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Work on SOLIC MFS                                                                                             Dougherty, Shannon    0.6    $ 180.00   $     108.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Work on SOLIC's 1st Monthly Fee Statement.                                                                    Huber, Amy            0.3    $ 125.00   $      37.50
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review SOLIC fee app and coordinate for filing                                                                Klauder, David        0.2    $ 350.00   $      70.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review emails re: revisions to SOLIC fee app                                                                  Klauder, David        0.1    $ 350.00   $      35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review edited SOLIC fee app and coordinate filing and service of same                                         Klauder, David        0.2    $ 350.00   $      70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-26-2015   Review and edit OEB fee app entries and coordinate prep of fee app                                            Klauder, David        0.2    $ 350.00   $      70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-26-2015   Work on OEB's 3rd Monthly Fee Statement.                                                                      Huber, Amy            1.2    $ 125.00   $     150.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-26-2015   Work on OEB's MFS                                                                                             Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-26-2015   Emails re: OEB Feb fee statement                                                                              Klauder, David        0.1    $ 350.00   $      35.00
                                                                                         Applications
03-27-2015   Review agenda for hearing                                                   [ALL] Case Administration         Klauder, David        0.1    $ 350.00   $      35.00
                                                                                         [ALL] OEB Retention and Fee
03-27-2015   Review OEB monthly fee stmt                                                                                   Klauder, David        0.2    $ 350.00   $      70.00
                                                                                         Applications
03-30-2015   Review of various filings in the case                                       [ALL] Case Administration         Klauder, David        0.1    $ 350.00   $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
03-31-2015   Emails with co-counsel re: Proskauer fee stmt                                                                 Klauder, David        0.2    $ 350.00   $      70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-31-2015   Work on OEB's 3rd Monthly Fee Statement.                                                                      Huber, Amy            0.9    $ 125.00   $     112.50
                                                                                         Applications
             Review end edit OEB Feb fee statement and coordinate filing of same with S. [ALL] OEB Retention and Fee
03-31-2015                                                                                                                 Klauder, David        0.4    $ 350.00   $     140.00
             Dougherty and C. Stephenson                                                 Applications
04-01-2015   Review responses to standing motion objections                              [ALL] Automatic Stay              Klauder, David         0.2 $ 350.00     $      70.00
                                                                                         [ALL] Non-OEB Retention and Fee
04-01-2015   Prepare Proskauer Rose's 3rd Monthly Fee Statement for filing.                                                Huber, Amy             0.6 $ 125.00     $      75.00
                                                                                         Applications



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      Date                                    Description                                                   Category                     Timekeeper        Hours   Rate         Amount
                                                                                               [ALL] Non-OEB Retention and Fee
04-01-2015   Review emails and coordinate service of fee apps                                                                         Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               Applications
                                                                                               [ALL] Non-OEB Retention and Fee
04-01-2015   Review Proskauer fee app and coordinate for filing                                                                       Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               Applications
                                                                                               [ALL] OEB Retention and Fee
04-01-2015   Draft and edit OEB Feb MFS                                                                                               Dougherty, Shannon     0.4 $ 180.00   $      72.00
                                                                                               Applications
                                                                                               [ALL] OEB Retention and Fee
04-01-2015   Review emails and coordinate service of fee apps                                                                         Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               Applications
04-02-2015   Review filings in case, including standing motion responses                       [ALL] Case Administration              Klauder, David         0.2 $ 350.00   $      70.00
04-02-2015   Review notice of telephonic hearing                                               [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               [ALL] Non-OEB Retention and Fee
04-03-2015   Review committee retention app                                                                                           Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               Applications
04-07-2015   Review debtor's objection to motion to intervene                                  [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               [ALL] OEB Retention and Fee
04-07-2015   Review correspondence from Fee Committee                                                                                 Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                               Applications
                                                                                               [ALL] OEB Retention and Fee
04-07-2015   Review fee committee letter re: interim fee app                                                                          Klauder, David         0.2 $ 350.00   $      70.00
                                                                                               Applications
04-08-2015   Review response by Sawyer to standing motion responses                            [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
04-08-2015   Review agenda for April 14 hearing                                                [ALL] Case Administration              Klauder, David         0.2 $ 350.00   $      70.00
                                                                                               [ALL] Non-OEB Retention and Fee
04-08-2015   Correspond w/AH regarding Proskauer's 3rd MFS                                                                            Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                               Applications
04-09-2015   Review replies to standing motion objections                                      [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               [ALL] Non-OEB Retention and Fee
04-09-2015   Prepare Michael A. Firestein's Pro Hac Vice Motion.                                                                      Huber, Amy             0.5 $ 125.00   $      62.50
                                                                                               Applications
                                                                                               [ALL] Non-OEB Retention and Fee
04-09-2015   Draft and edit motion to admit M. Firestein PHV                                                                          Dougherty, Shannon     0.4 $ 180.00   $      72.00
                                                                                               Applications
                                                                                               [ALL] Non-OEB Retention and Fee
04-09-2015   Coordinate filing of pro hac motion for Proskauer atty                                                                   Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               Applications
                                                                                               [ALL] Non-OEB Retention and Fee
04-09-2015   Emails with co-counsel re: pro hac motion and fee issues                                                                 Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               Applications
04-10-2015   Review amended agenda for 4/14 hearing                                            [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               [ALL] OEB Retention and Fee
04-10-2015   Email with fee committee counsel re: first interim fee app                                                               Klauder, David         0.1 $ 350.00   $      35.00
                                                                                               Applications
             Phone call with Pete Young re: various aspects of case, including plan
04-10-2015                                                                                     [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
             negotiations and 4/14 omnibus hearing
04-10-2015   Review of motion to quash depo of Hugh Sawyer                                     [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
04-13-2015   Review Agenda in preparation for 4/14 hearing                                     [ALL] Case Administration              Dougherty, Shannon     0.2 $ 180.00   $      36.00
             Review amended agenda for 4/14 hearing and emails with co-counsel re:
04-13-2015                                                                                     [ALL] Case Administration              Klauder, David         0.2 $ 350.00   $      70.00
             same
04-13-2015   Coordinate with S. Dougherty prep for 4/14 hearing                                [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
04-13-2015   Review Disinterested Directors' statement regarding conflict matters              [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.3 $ 180.00   $      54.00
             Various emails with co-counsel re: filing statement of disinterested directors
04-13-2015                                                                                     [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
             on proposed settlement



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      Date                                      Description                                             Category                        Timekeeper        Hours   Rate         Amount
             Discuss coordination of filing statement of disinterested directors on
04-13-2015                                                                               [ALL] Plan and Disclosure Statements        Klauder, David         0.2 $ 350.00   $      70.00
             proposed settlement with S. Dougherty
             Review statement of disinterested directors on proposed settlement and
04-13-2015                                                                               [ALL] Plan and Disclosure Statements        Klauder, David         0.4 $ 350.00   $     140.00
             various exhibits
             Review and respond to emails with P. Young and Kirkland re: plan filing and
04-13-2015                                                                               [ALL] Plan and Disclosure Statements        Klauder, David         0.2 $ 350.00   $      70.00
             filing of stmt of disinterested directors
             Review various letters from EFH UCC and Delaware Trust Co. re:
04-13-2015                                                                               [ALL] Contested Matters & Advers. Pro.      Klauder, David         0.2 $ 350.00   $      70.00
             scheduling of EFIH litigation
             Review Stipulation regarding adjournment of standing motions in preparation
04-14-2015                                                                               [ALL] Case Administration                   Dougherty, Shannon     0.2 $ 180.00   $      36.00
             for 4/14 hearing
04-14-2015   Prep for 4/14 omnibus hearing and various emails with co-counsel re: same    [ALL] Case Administration                  Klauder, David         0.9 $ 350.00   $     315.00
04-14-2015   Attend omnibus hearing                                                       [ALL] Case Administration                  Klauder, David         3.4 $ 350.00   $ 1,190.00
04-14-2015   Emails with Pete Young at Proskauer re: 4/14 hearing                         [ALL] Case Administration                  Klauder, David         0.1 $ 350.00   $    35.00
04-14-2015   Coordinate documents prep for hearing                                        [ALL] Case Administration                  Klauder, David         0.2 $ 350.00   $    70.00
                                                                                          [ALL] Non-OEB Retention and Fee
04-14-2015   Correspond w/DK regarding fee applications                                                                              Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
04-14-2015   Phone call with fee committee counsel re: OEB first interim fee app                                                     Klauder, David         0.3 $ 350.00   $     105.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
04-14-2015   Correspond w/DK regarding fee applications                                                                              Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                          Applications
             Edit Disinterested Directors' Statement in Support of Plan and prepare for
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements     Dougherty, Shannon     0.6 $ 180.00   $     108.00
             filing.
             Review various emails from Kirkland attorneys re: filing of plan, disc
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements     Klauder, David         0.2 $ 350.00   $      70.00
             statement and related documents
             Review EFH disinterested directors statement in support of settlement and
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements     Klauder, David         0.4 $ 350.00   $     140.00
             coordinate filing with S. Dougherty
             Various emails with P. Young re: filing and service of disinterested directors
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements     Klauder, David         0.2 $ 350.00   $      70.00
             statement in support of settlement
             Review proposed stip to continue standing motion and proposed confirmation
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements     Klauder, David         0.2 $ 350.00   $      70.00
             timeline
04-15-2015   Confer w/reporter regarding plan, correspond w/DK regarding same               [ALL] Plan and Disclosure Statements     Dougherty, Shannon     0.1 $ 180.00   $      18.00
             Email and discussion with S. Dougherty re: reporter phone call on the plan of
04-15-2015                                                                                  [ALL] Plan and Disclosure Statements     Klauder, David         0.2 $ 350.00   $      70.00
             reorg
04-16-2015   Review Order Scheduling Omnibus Hearing Dates.                                 [ALL] Case Administration                Huber, Amy             0.1 $ 125.00   $      12.50
             Review letter from counsel for indenture trustee re: plan of reorg issues and
04-16-2015                                                                                  [ALL] Plan and Disclosure Statements     Klauder, David         0.2 $ 350.00   $      70.00
             questions
04-16-2015   Review of EFIH trial brief in trustee litigation                               [ALL] Contested Matters & Advers. Pro.   Klauder, David         0.1 $ 350.00   $      35.00
             Prepare Certificate of No Objection regarding Solic's Fee Application for      [ALL] Non-OEB Retention and Fee
04-20-2015                                                                                                                           Dougherty, Shannon     0.2 $ 180.00   $      36.00
             filing                                                                         Applications
                                                                                            [ALL] Non-OEB Retention and Fee
04-20-2015   Prepare CNO re: SOLIC's 2nd Monthly Fee Statement for filing.                                                           Huber, Amy             0.4 $ 125.00   $      50.00
                                                                                            Applications




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      Date                                   Description                                                Category                   Timekeeper        Hours   Rate         Amount
                                                                                         [ALL] Non-OEB Retention and Fee
04-20-2015   Review SOLIC fee app CNO and coordinate filing of same                                                             Klauder, David         0.2 $ 350.00   $      70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-20-2015   Prepare CNO re: OEB's 3rd Monthly Fee Statement.                                                                   Huber, Amy             0.7 $ 125.00   $      87.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-20-2015   Review letter re: monthly fee app                                                                                  Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications
04-20-2015   Review emails re: conference call with indenture trustee                    [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
04-21-2015   Prepare SOLIC Capital Advisors' 3rd Monthly Fee Statement for filing.                                              Huber, Amy             0.6 $ 125.00   $      75.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-21-2015   Review SOLIC fee statement and coordinate filing of same                                                           Klauder, David         0.3 $ 350.00   $     105.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-21-2015   Emails with Proskauer re: filing and service of SOLIC fee app                                                      Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-21-2015   Prepare SOLIC Fee Application for Service                                                                          Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                         Applications
04-23-2015   Meeting with bk team re: upcoming dates, deadlines and tasks                [ALL] Case Administration              Klauder, David         0.3 $ 350.00   $     105.00
04-23-2015   Review EFH committee motions re: Oncor bids                                 [ALL] Case Administration              Klauder, David         0.2 $ 350.00   $      70.00
                                                                                         [ALL] OEB Retention and Fee
04-23-2015   Confer w/DK and ED regarding Second Interim OEB Fee Application                                                    Dougherty, Shannon     0.4 $ 180.00   $      72.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-23-2015   Confer with S. Dougherty regarding preparation of monthly fee statement.                                           Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-23-2015   Review OEB's January 2015 Monthly Fee Statement.                                                                   Huber, Amy             0.3 $ 125.00   $      37.50
                                                                                         Applications
04-24-2015   Discuss status of open matters with S. Dougherty                            [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
             Review order denying motion to shorten of EFH Committee and send to
04-24-2015                                                                               [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
             Proskauer
                                                                                         [ALL] Non-OEB Retention and Fee
04-24-2015   Review CNO re Proskauer’s 3rd MFS                                                                                  Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-24-2015   Review CNO for Proskauer fee app and coordinate filing of same                                                     Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-24-2015   Prepare CNO for Proskauer's MFS for filing                                                                         Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Prepare OEB's Monthly Fee Invoice Statement.                                                                       Huber, Amy             0.3 $ 125.00   $      37.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Edit CNO re: OEB's 3rd Monthly Fee Statement.                                                                      Huber, Amy             0.3 $ 125.00   $      37.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Review CNO re OEB’s 3rd MFS                                                                                        Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Confer w/Sharon at EFH regarding 2nd OEB MFS                                                                       Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Review CNO for OEB fee app and coordinate filing of same                                                           Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         Applications




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      Date                                   Description                                              Category                     Timekeeper        Hours   Rate         Amount
                                                                                       [ALL] OEB Retention and Fee
04-24-2015   Review email from S. Dougherty with fee stmt info                                                                  Klauder, David         0.1 $ 350.00   $      35.00
                                                                                       Applications
                                                                                       [ALL] OEB Retention and Fee
04-24-2015   Prepare Payment Package for delivery to client                                                                     Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                       Applications
                                                                                       [ALL] Non-OEB Retention and Fee
04-27-2015   Review Guggenheim supplemental declaration                                                                         Klauder, David         0.1 $ 350.00   $      35.00
                                                                                       Applications
                                                                                       [ALL] OEB Retention and Fee
04-27-2015   Correspond and w/G. Moore regarding February and March MFS                                                         Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                       Applications
04-27-2015   Review EFH Indenture Trustee objection to scheduling order                [ALL] Plan and Disclosure Statements     Klauder, David         0.2 $ 350.00   $      70.00
             Review various objections and responses to plan scheduling order, including
04-27-2015                                                                               [ALL] Plan and Disclosure Statements   Klauder, David         0.3 $ 350.00   $     105.00
             EFH committee and and EFIH IT
             Review re-notice filed by EFH committee re: motion to disclose Oncor bid
04-28-2015                                                                               [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
             info
                                                                                         [ALL] OEB Retention and Fee
04-28-2015   Prepare OEB's 4th Monthly Fee Statement for March 2015.                                                            Huber, Amy             1.4 $ 125.00   $     175.00
                                                                                         Applications
04-28-2015   Review of additional objections and responses to plan scheduling motion     [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
04-29-2015   Review notice of agenda for 5/4 hearing                                     [ALL] Case Administration              Klauder, David         0.2 $ 350.00   $      70.00
                                                                                         [ALL] OEB Retention and Fee
04-29-2015   Correspond w/DK, AH and ED regarding March MFS                                                                     Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-29-2015   Edit OEB's 4th Monthly Fee Statement for March 2015.                                                               Huber, Amy             1.1 $ 125.00   $     137.50
                                                                                         Applications
             Confer with S. Dougherty regarding OEB's 4th Monthly Fee Statement for      [ALL] OEB Retention and Fee
04-29-2015                                                                                                                      Huber, Amy             0.1 $ 125.00   $      12.50
             March 2015.                                                                 Applications
                                                                                         [ALL] OEB Retention and Fee
04-29-2015   Review March MFS                                                                                                   Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-29-2015   Review and edit monthly fee statement                                                                              Klauder, David         0.3 $ 350.00   $     105.00
                                                                                         Applications
04-29-2015   Review Deposition Notice                                                    [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.1 $ 180.00   $      18.00
04-29-2015   Review Omnibus Reply and prepare for filing                                 [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.4 $ 180.00   $      72.00
04-29-2015   Review notice of EFH Corp deposition                                        [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
             Review email from Proskauer and draft reply of disinterested directors to
04-29-2015                                                                               [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00
             plan scheduling motion objections
             Review final reply of disinterested directors to plan scheduling motion
04-29-2015                                                                               [ALL] Plan and Disclosure Statements   Klauder, David         0.4 $ 350.00   $     140.00
             objections and coordinate filing of same
04-29-2015   Emails with P. Young at Proskauer re: filed reply                           [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $      35.00
04-30-2015   Review Debtor's objection to 30(b)(6) notice of depo                        [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
04-30-2015   Review re-notice of 30(b)(6) depo for EFH                                   [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
04-30-2015   Review amended agenda for 5/4 hearing                                       [ALL] Case Administration              Klauder, David         0.1 $ 350.00   $      35.00
                                                                                         [ALL] OEB Retention and Fee
04-30-2015   Correspond w/AH and ED regarding March MFS                                                                         Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-30-2015   Conver with S. Dougherty and E. deVincentis regarding LEDES invoice.                                               Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                         Applications




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      Date                                    Description                                                Category                   Timekeeper        Hours   Rate         Amount
                                                                                          [ALL] OEB Retention and Fee
04-30-2015    Review March MFS                                                                                                   Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                          Applications
              Review Retained Professionals Payment Process relating to                   [ALL] OEB Retention and Fee
04-30-2015                                                                                                                       Huber, Amy             0.1 $ 125.00   $      12.50
              Review/Objection Period.                                                    Applications
                                                                                          [ALL] OEB Retention and Fee
04-30-2015    Edit OEB's 4th Monthly Fee Statement for March 2015.                                                               Huber, Amy             0.5 $ 125.00   $      62.50
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
04-30-2015    Coordinate the filing of OEB's 4th Monthly Fee Statement for March 2015.                                           Huber, Amy             0.2 $ 125.00   $      25.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
04-30-2015    Final review of monthly fee stmt and coordinate filing of same                                                     Klauder, David         0.1 $ 350.00   $      35.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
04-30-2015    Prepare OEB March MFS for service                                                                                  Dougherty, Shannon     0.3 $ 180.00   $      54.00
                                                                                          Applications
04-30-2015    Review Debtor's reply to case protocol motion objections                    [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $      70.00

GRAND TOTAL                                                                                                                                           138.6            $ 33,579.50




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      Date                                  Description                                                Category                   Timekeeper        Hours   Rate         Amount
04-01-2015   Review responses to standing motion objections                              [ALL] Automatic Stay                  Klauder, David         0.2 $ 350.00   $       70.00
Subtotal                                                                                 [ALL] Automatic Stay                                         0.2            $       70.00

01-05-2015   Research regarding pro hac vice motions                                     [ALL] Case Administration             Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                           [ALL] Case Administration
01-05-2015   Emails with UST and Proskauer re: UST retention issues and call re: same                                          Klauder, David         0.2 $ 350.00   $       70.00
             Discussions and coordinate re: 1/6 teleconference with UST on retention
                                                                                           [ALL] Case Administration
01-06-2015   issues                                                                                                            Dougherty, Shannon     0.3 $ 180.00   $       54.00
01-06-2015   Research regarding motions to appear PHV                                      [ALL] Case Administration           Dougherty, Shannon     0.4 $ 180.00   $       72.00
01-06-2015   Review pro hac orders and discuss with S. Dougherty                           [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
01-06-2015   Emails with UST the: rescheduling of conference call                          [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
01-07-2015   Schedule Teleconference                                                       [ALL] Case Administration           Dougherty, Shannon     0.1 $ 180.00   $       18.00
             Emails with S. Dougherty to coordinate further conference call with UST and
                                                                                           [ALL] Case Administration
01-07-2015   co-counsel                                                                                                        Klauder, David         0.1 $ 350.00   $       35.00
01-08-2015   Review filings by Munger Tolles                                               [ALL] Case Administration           Klauder, David         0.2 $ 350.00   $       70.00
01-09-2015   Review notice of agenda for 1/13 hearing and send to co-counsel               [ALL] Case Administration           Klauder, David         0.2 $ 350.00   $       70.00
01-12-2015   Coordinate hearing binders for 1/13 hearing                                   [ALL] Case Administration           Klauder, David         0.2 $ 350.00   $       70.00
01-12-2015   Review amended agenda                                                         [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
             Meet with co-counsel and debtor's counsel after 1/13 hearing in Bankruptcy
                                                                                           [ALL] Case Administration
01-13-2015   Court                                                                                                             Klauder, David         0.5 $ 350.00   $      175.00
             Voicemail from Indiana taxing authority re: service of filings and coordinate
                                                                                           [ALL] Case Administration
01-13-2015   response with S. Dougherty                                                                                        Klauder, David         0.1 $ 350.00   $       35.00
01-13-2015   Prepare documents for delivery to co-counsel                                  [ALL] Case Administration           Dougherty, Shannon     0.1 $ 180.00   $       18.00
01-13-2015   Coordinate delivery of documents for co-counsel                               [ALL] Case Administration           Stephenson, Cory       0.4 $ 120.00   $       48.00
01-15-2015   Review amended notice of appointment of creditors committee                   [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
01-16-2015   Review Order Scheduling Omnibus Hearing Date                                  [ALL] Case Administration           Huber, Amy             0.1 $ 125.00   $       12.50
01-20-2015   Review committee reservation of rights re: asbestos claims                    [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
01-22-2015   Review agenda for 1/26 hearing                                                [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
01-23-2015   Updated client file with new documents                                        [ALL] Case Administration           Stephenson, Cory       0.1 $ 120.00   $       12.00
01-25-2015   Review of various filings in the case                                         [ALL] Case Administration           Klauder, David         0.2 $ 350.00   $       70.00
02-05-2015   Updated client file with new documents                                        [ALL] Case Administration           Stephenson, Cory       0.1 $ 120.00   $       12.00
02-06-2015   Emails with co-counsel re: 2/10 hearing                                       [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
02-06-2015   Confer w/teleconference company regarding 2/10 hearing                        [ALL] Case Administration           Dougherty, Shannon     0.4 $ 180.00   $       72.00
02-06-2015   Review notice of agenda for 2/10 hearing                                      [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
02-06-2015   Updated client file with new documents                                        [ALL] Case Administration           Stephenson, Cory       0.1 $ 120.00   $       12.00
02-09-2015   Emails with co-counsel and S. Dougherty re: attendance at 2/10 hearing        [ALL] Case Administration           Klauder, David         0.2 $ 350.00   $       70.00
02-09-2015   Review amended agenda for 2/10 hearing                                        [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
02-09-2015   Confer w/teleconference company regarding 2/10 hearing                        [ALL] Case Administration           Dougherty, Shannon     0.2 $ 180.00   $       36.00
02-10-2015   Emails with co-counsel and S. Dougherty re: transcript for 2/10 hearing       [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
02-10-2015   Prep for court                                                                [ALL] Case Administration           Klauder, David         0.4 $ 350.00   $      140.00
02-10-2015   Attend hearing on exclusivity and other omnibus matters                       [ALL] Case Administration           Klauder, David         2.1 $ 350.00   $      735.00
02-10-2015   Research regarding 2/10/15 hearing                                            [ALL] Case Administration           Dougherty, Shannon     0.3 $ 180.00   $       54.00
02-12-2015   Review docket for hearing list                                                [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
02-12-2015   Emails with S. Dougherty re: 2/10 hearing transcript                          [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00
02-12-2015   Review of agenda for 2/17 hearing                                             [ALL] Case Administration           Klauder, David         0.1 $ 350.00   $       35.00


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      Date                                     Description                                             Category                    Timekeeper     Hours   Rate           Amount
02-12-2015   Updated client file with new documents                                       [ALL] Case Administration            Stephenson, Cory     0.1 $ 120.00     $       12.00
02-12-2015   Review transcript for 2/10 hearing and emails to co-counsel re: same         [ALL] Case Administration            Klauder, David       0.1 $ 350.00     $       35.00
02-12-2015   Research regarding 2/10 transcript                                           [ALL] Case Administration            Dougherty, Shannon   0.2 $ 180.00     $       36.00
02-13-2015   Review of partial lien repayment motion                                      [ALL] Case Administration            Klauder, David       0.2 $ 350.00     $       70.00
02-16-2015   Updates client file with new documents                                       [ALL] Case Administration            Stephenson, Cory     0.1 $ 120.00     $       12.00
02-18-2015   Work on Amended Schedules                                                    [ALL] Case Administration            Dougherty, Shannon   0.9 $ 180.00     $      162.00
02-18-2015   Review notice of hearing                                                     [ALL] Case Administration            Klauder, David       0.1 $ 350.00     $       35.00
             Review notice of amended schedules for EFH received from co-counsel and
02-18-2015                                                                                [ALL] Case Administration            Klauder, David        0.3 $ 350.00    $      105.00
             emails with co-counsel re: same
02-18-2015   Coordinate filing and service of notice of amended schedules for EFH         [ALL] Case Administration            Klauder, David        0.3 $ 350.00    $      105.00
02-19-2015   Confer with S. Dougherty and review Schedule F.                              [ALL] Case Administration            Huber, Amy            0.4 $ 125.00    $       50.00
02-19-2015   Emails with S. Dougherty re: service of schedule amendments                  [ALL] Case Administration            Klauder, David        0.1 $ 350.00    $       35.00
             Continue reviewing Schedule F and correspondence with S. Dougherty
02-20-2015                                                                                [ALL] Case Administration            Huber, Amy            0.3 $ 125.00    $       37.50
             regarding same.
02-20-2015   Review District court appeal decision                                        [ALL] Case Administration            Klauder, David        0.2 $ 350.00    $       70.00
02-20-2015   Review various motions for standing to pursue causes of action               [ALL] Case Administration            Klauder, David        0.3 $ 350.00    $      105.00
02-20-2015   Correspond w/Epiq regarding amended schedule F                               [ALL] Case Administration            Dougherty, Shannon    0.1 $ 180.00    $       18.00
02-23-2015   Research regarding CNO                                                       [ALL] Case Administration            Dougherty, Shannon    0.1 $ 180.00    $       18.00
02-23-2015   Work on Notice of Withdrawal regarding Amended Schedules                     [ALL] Case Administration            Dougherty, Shannon    0.4 $ 180.00    $       72.00
             Correspond w/co-counsel regarding Notice of Withdrawal regarding
02-23-2015                                                                                [ALL] Case Administration            Dougherty, Shannon    0.1 $ 180.00    $       18.00
             Amended Schedules,
             Review emails from co-counsel re: filings for today and coordinate with S.
02-23-2015                                                                                [ALL] Case Administration            Klauder, David        0.2 $ 350.00    $       70.00
             Dougherty on preparation
02-23-2015   Various emails with S. Dougherty re: filings for today                       [ALL] Case Administration            Klauder, David         0.2 $ 350.00   $       70.00
02-24-2015   Discuss status of open matters with S. Dougherty                             [ALL] Case Administration            Klauder, David         0.1 $ 350.00   $       35.00
02-26-2015   Review second lien response to payment motion                                [ALL] Case Administration            Klauder, David         0.2 $ 350.00   $       70.00
02-26-2015   Review response to pay down motion                                           [ALL] Case Administration            Klauder, David         0.1 $ 350.00   $       35.00
02-28-2015   Review of recent filings in the case                                         [ALL] Case Administration            Klauder, David         0.1 $ 350.00   $       35.00
03-03-2015   Review notice of telephonic hearing                                          [ALL] Case Administration            Klauder, David       0.1 $ 350.00     $       35.00
03-03-2015   Review various responses to standing motions                                 [ALL] Case Administration            Klauder, David       0.5 $ 350.00     $      175.00
03-04-2015   Review debtor response to standing motions                                   [ALL] Case Administration            Klauder, David       0.4 $ 350.00     $      140.00
             Review recent filings in the case, including further responses to standing
03-04-2015                                                                                [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00
             motions
03-05-2015   Review notices of hearing and various filings in the case                    [ALL] Case Administration            Klauder, David       0.2   $ 350.00   $       70.00
03-06-2015   Review fee app filings in the case                                           [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00
03-06-2015   Review agenda for 3/10 hearing                                               [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00
03-09-2015   Review recent filings in the case related to 3/10 hearing including agenda   [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00
03-09-2015   Emails with co-counsel re: 3/10 hearing                                      [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00
03-09-2015   Coordinate appearances of co-counsel for 3/10 hearing                        [ALL] Case Administration            Klauder, David       0.3   $ 350.00   $      105.00
03-09-2015   Review revised partial repayment order                                       [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00
03-10-2015   Review of amended agenda and other filings in prep for hearing               [ALL] Case Administration            Klauder, David       0.2   $ 350.00   $       70.00
03-10-2015   Attend 3/10 omnibus hearing                                                  [ALL] Case Administration            Klauder, David       2.0   $ 350.00   $      700.00
03-10-2015   Review notice of continued hearing and review upcoming hearing schedule      [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00
03-11-2015   Review notice of agenda for 3/13 hearing                                     [ALL] Case Administration            Klauder, David       0.1   $ 350.00   $       35.00


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      Date                                     Description                                            Category                   Timekeeper      Hours    Rate         Amount
03-13-2015   Review of fee app filings in the case                                       [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-16-2015   Review letters re: discovery protocol                                       [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-18-2015   Review filings in the case including letter on discovery                    [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-19-2015   Review notice of telephonic hearing                                         [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-23-2015   Review filings in the case                                                  [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-24-2015   Review filings in the case                                                  [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-24-2015   Review various filings in case                                              [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-25-2015   Review debtor's lease rejection motion                                      [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-25-2015   Review notice of telephonic hearing                                         [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-26-2015   Review agenda for 3/30 hearing                                              [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-26-2015   Review decision on EFIH note dispute                                        [ALL] Case Administration            Klauder, David      0.2 $ 350.00     $       70.00
03-27-2015   Review agenda for hearing                                                   [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
03-30-2015   Review of various filings in the case                                       [ALL] Case Administration            Klauder, David      0.1 $ 350.00     $       35.00
04-02-2015   Review filings in case, including standing motion responses                 [ALL] Case Administration            Klauder, David        0.2 $ 350.00   $       70.00
04-02-2015   Review notice of telephonic hearing                                         [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
04-07-2015   Review debtor's objection to motion to intervene                            [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
04-08-2015   Review response by Sawyer to standing motion responses                      [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
04-08-2015   Review agenda for April 14 hearing                                          [ALL] Case Administration            Klauder, David        0.2 $ 350.00   $       70.00
04-09-2015   Review replies to standing motion objections                                [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
04-10-2015   Review amended agenda for 4/14 hearing                                      [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
04-13-2015   Review Agenda in preparation for 4/14 hearing                               [ALL] Case Administration            Dougherty, Shannon    0.2 $ 180.00   $       36.00
             Review amended agenda for 4/14 hearing and emails with co-counsel re:
04-13-2015                                                                               [ALL] Case Administration            Klauder, David        0.2 $ 350.00   $       70.00
             same
04-13-2015   Coordinate with S. Dougherty prep for 4/14 hearing                          [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
             Review Stipulation regarding adjournment of standing motions in preparation
04-14-2015                                                                               [ALL] Case Administration            Dougherty, Shannon    0.2 $ 180.00   $       36.00
             for 4/14 hearing
04-14-2015   Prep for 4/14 omnibus hearing and various emails with co-counsel re: same   [ALL] Case Administration            Klauder, David        0.9 $ 350.00   $      315.00
04-14-2015   Attend omnibus hearing                                                      [ALL] Case Administration            Klauder, David        3.4 $ 350.00   $     1,190.00
04-14-2015   Emails with Pete Young at Proskauer re: 4/14 hearing                        [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $        35.00
04-14-2015   Coordinate documents prep for hearing                                       [ALL] Case Administration            Klauder, David        0.2 $ 350.00   $        70.00
04-16-2015   Review Order Scheduling Omnibus Hearing Dates.                              [ALL] Case Administration            Huber, Amy            0.1 $ 125.00   $        12.50
04-23-2015   Meeting with bk team re: upcoming dates, deadlines and tasks                [ALL] Case Administration            Klauder, David        0.3 $ 350.00   $       105.00
04-23-2015   Review EFH committee motions re: Oncor bids                                 [ALL] Case Administration            Klauder, David        0.2 $ 350.00   $        70.00
04-24-2015   Discuss status of open matters with S. Dougherty                            [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $        35.00
             Review order denying motion to shorten of EFH Committee and send to
04-24-2015                                                                               [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
             Proskauer
             Review re-notice filed by EFH committee re: motion to disclose Oncor bid
04-28-2015                                                                               [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $       35.00
             info
04-29-2015   Review notice of agenda for 5/4 hearing                                     [ALL] Case Administration            Klauder, David        0.2 $ 350.00   $        70.00
04-30-2015   Review Debtor's objection to 30(b)(6) notice of depo                        [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $        35.00
04-30-2015   Review re-notice of 30(b)(6) depo for EFH                                   [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $        35.00
04-30-2015   Review amended agenda for 5/4 hearing                                       [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $        35.00
Subtotal                                                                                 [ALL] Case Administration                                 27.2            $     8,396.50




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      Date                                  Description                                              Category                    Timekeeper              Hours   Rate         Amount
             Review various letters from EFH UCC and Delaware Trust Co. re: scheduling
04-13-2015                                                                             [ALL] Contested Matters & Advers. Pro. Klauder, David               0.2 $ 350.00   $       70.00
             of EFIH litigation
04-16-2015   Review of EFIH trial brief in trustee litigation                                [ALL] Contested Matters & Advers. Pro. Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] Contested Matters & Advers.
Subtotal                                                                                                                                                   0.3            $      105.00
                                                                                             Pro.

             Confer w/texas counsel to century geophysical corp. regarding executory         [ALL] Exec. Contracts & Unexpired
01-26-2015   contract                                                                        Leases                                 Dougherty, Shannon     0.3 $ 180.00   $       54.00
             Voicemail from atty in Tyler, TX re: executory contract and coordinate          [ALL] Exec. Contracts & Unexpired
01-26-2015   forwarding with S. Dougherty to debtor's main counsel                           Leases                                 Klauder, David         0.2 $ 350.00   $       70.00
                                                                                             [ALL] Exec. Contracts & Unexpired
Subtotal                                                                                     Leases                                                        0.5            $      124.00

             Prep for 1/13 hearing including retention apps and meet with co-counsel prior
01-13-2015   to hearing                                                                    [ALL] Hearings                           Klauder, David         0.9 $ 350.00   $      315.00
01-13-2015   Attend and participate in 1/13 hearing in Bankruptcy Court                    [ALL] Hearings                           Klauder, David         2.6 $ 350.00   $      910.00
Subtotal                                                                                   [ALL] Hearings                                                  3.5            $    1,225.00

                                                                                             [ALL] Non-OEB Retention and Fee
01-05-2015   Discuss pro hac orders with S. Dougherty                                        Applications                           Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] Non-OEB Retention and Fee
01-06-2015   Work on Motions to Appear PHV                                                   Applications                           Dougherty, Shannon     0.3 $ 180.00   $       54.00
                                                                                             [ALL] Non-OEB Retention and Fee
01-06-2015   Conference call with co-counsel re: retention app                               Applications                           Klauder, David         0.2 $ 350.00   $       70.00
             Emails with co-counsel re: UST edits to retention and make changes to           [ALL] Non-OEB Retention and Fee
01-06-2015   proposed order                                                                  Applications                           Klauder, David         0.4 $ 350.00   $      140.00
                                                                                             [ALL] Non-OEB Retention and Fee
01-07-2015   Review retention app papers in anticipation of conference call with UST         Applications                           Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] Non-OEB Retention and Fee
01-07-2015   Conference call with co-counsel and UST re: retention apps                      Applications                           Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] Non-OEB Retention and Fee
01-08-2015   Emails and phone call with Pete Young re: supp declaration                      Applications                           Klauder, David         0.2 $ 350.00   $       70.00
                                                                                             [ALL] Non-OEB Retention and Fee
01-08-2015   Review Proskauer supp declaration                                               Applications                           Klauder, David         0.2 $ 350.00   $       70.00
             Review email from Pete Young to UST re: revised orders and supp                 [ALL] Non-OEB Retention and Fee
01-08-2015   declaration                                                                     Applications                           Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] Non-OEB Retention and Fee
01-08-2015   Work on Proskauer Retention Application.                                        Applications                           Huber, Amy             0.5 $ 125.00   $       62.50
             Emails and phone call with Pete Young re: supp declaration filing and           [ALL] Non-OEB Retention and Fee
01-08-2015   proposed orders for retention                                                   Applications                           Klauder, David         0.1 $ 350.00   $       35.00
             Prep revised retention papers for filing and coordinate edits of same with A.   [ALL] Non-OEB Retention and Fee
01-08-2015   Huber                                                                           Applications                           Klauder, David         0.5 $ 350.00   $      175.00
             Emails and phone call with Pete Young re: revised retention papers for          [ALL] Non-OEB Retention and Fee
01-08-2015   Proskauer                                                                       Applications                           Klauder, David         0.1 $ 350.00   $       35.00


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      Date                                   Description                                                   Category                Timekeeper        Hours   Rate         Amount
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Draft and edit notices of filing for proposed orders for retentions of Proskauer Applications                      Klauder, David         0.3 $ 350.00   $      105.00
             Coordinate filing of notices of filing for proposed order for retention of
                                                                                              [ALL] Non-OEB Retention and Fee
             Proskauer and second supp declaration and various discussions with S.
                                                                                              Applications
01-08-2015   Dougherty re: same                                                                                                 Klauder, David         0.2 $ 350.00   $       70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Emails with Proskauer re: filing of supplemental retention papers                Applications                      Klauder, David         0.1 $ 350.00   $       35.00
             Work on Notice regarding Revised Proposed Order regarding Retention              [ALL] Non-OEB Retention and Fee
01-08-2015   Application                                                                      Applications                      Dougherty, Shannon     0.6 $ 180.00   $      108.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-09-2015   Work on Notice regarding Retention                                               Applications                      Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-11-2015   Review TCEH committee objection to Greenhill retention                           Applications                      Klauder, David         0.2 $ 350.00   $       70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-12-2015   Work on retention application binder                                             Applications                      Dougherty, Shannon     0.8 $ 180.00   $      144.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-12-2015   Review retention app and accompanying documents in prep for 1/13 hearing Applications                              Klauder, David         0.1 $ 350.00   $       35.00
             Review UST statement in response to retention app and emails with co-            [ALL] Non-OEB Retention and Fee
01-12-2015   counsel re: same                                                                 Applications                      Klauder, David         0.2 $ 350.00   $       70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-12-2015   Review proposed order for retention of Greenhill                                 Applications                      Klauder, David         0.1 $ 350.00   $       35.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-15-2015   Emails with Pete Young re: FA retention                                          Applications                      Klauder, David         0.1 $ 350.00   $       35.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-15-2015   Review retention app for SOLIC                                                   Applications                      Klauder, David         0.5 $ 350.00   $      175.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-15-2015   Review RLF fee app and compare with fee app guidelines                           Applications                      Klauder, David         0.4 $ 350.00   $      140.00
             Review SOLIC financial advisor retention app and emails with co-counsel re: [ALL] Non-OEB Retention and Fee
01-16-2015   same                                                                             Applications                      Klauder, David         0.3 $ 350.00   $      105.00
             Draft notice of SOLIC financial advisor retention app and emails with A.         [ALL] Non-OEB Retention and Fee
01-16-2015   Huber re: prep for filing of same                                                Applications                      Klauder, David         0.4 $ 350.00   $      140.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-16-2015   Work on SOLIC Capital Advisors' Retention Application.                           Applications                      Huber, Amy             1.2 $ 125.00   $      150.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-16-2015   Review and edit SOLIC financial retention app and coordinate for filing          Applications                      Klauder, David         0.9 $ 350.00   $      315.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with S. Dougherty re: service of SOLIC retention app                      Applications                      Klauder, David         0.1 $ 350.00   $       35.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-16-2015   Various emails with Epiq and J. Madron re: service of SOLIC retention app Applications                             Klauder, David         0.3 $ 350.00   $      105.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with co-counsel re: filing and service of SOLIC retention app             Applications                      Klauder, David         0.1 $ 350.00   $       35.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with co-counsel re: service of SOLIC retention app                        Applications                      Klauder, David         0.1 $ 350.00   $       35.00
             Review email from Pete Young re: Kirkland phone call and info on fee apps [ALL] Non-OEB Retention and Fee
01-22-2015   and coordinate with S. Dougherty                                                 Applications                      Klauder, David         0.2 $ 350.00   $       70.00


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      Date                                    Description                                               Category                   Timekeeper        Hours   Rate         Amount
                                                                                           [ALL] Non-OEB Retention and Fee
01-23-2015   Conference call with Kirkland and other counsel re: fee app procedures        Applications                         Klauder, David         0.7 $ 350.00   $      245.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-26-2015   Review various fee filings in the case                                        Applications                         Klauder, David         0.2 $ 350.00   $       70.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-27-2015   Emails with co-counsel re: fee apps and budgeting issues                      Applications                         Klauder, David         0.2 $ 350.00   $       70.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-28-2015   Review email from co-counsel re: budgeting and fee apps                       Applications                         Klauder, David         0.2 $ 350.00   $       70.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-28-2015   Review Cravath fee app                                                        Applications                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-30-2015   Work on Proskauer's 1st Monthly Fee Application.                              Applications                         Huber, Amy             1.1 $ 125.00   $      137.50
             Emails and voicemail with UST and co-cousnel re: SOLIC retention app and      [ALL] Non-OEB Retention and Fee
01-30-2015   obj deadline                                                                  Applications                         Klauder, David         0.3 $ 350.00   $      105.00
             Review of Proskauer's first monthly fee stmt and emails with co-counsel re:   [ALL] Non-OEB Retention and Fee
01-30-2015   same                                                                          Applications                         Klauder, David         0.3 $ 350.00   $      105.00
             Final review and editing of Proskauer fee stmts and coordinate filing and     [ALL] Non-OEB Retention and Fee
01-30-2015   service of same                                                               Applications                         Klauder, David         0.4 $ 350.00   $      140.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-30-2015   Emails with co-counsel re: filing of Proskauer fee stmts                      Applications                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           [ALL] Non-OEB Retention and Fee
02-03-2015   Review Munger Tolles fee stmt                                                                                      Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-03-2015   Phone call with UST re: SOLIC retention app                                                                        Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Review and respond to email from UST re: SOLIC retention app comments                                              Klauder, David         0.2 $ 350.00   $       70.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Emails with co-counsel re: SOLIC retention app and UST comments                                                    Klauder, David         0.2 $ 350.00   $       70.00
                                                                                           Applications
             Review revised retention order for SOLIC and emails with co-counsel and       [ALL] Non-OEB Retention and Fee
02-05-2015                                                                                                                      Klauder, David         0.3 $ 350.00   $      105.00
             UST re: same                                                                  Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Draft and work on COC regarding SOLIC Retention Application                                                        Dougherty, Shannon     0.9 $ 180.00   $      162.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Confer with S. Dougherty regarding COC to SOLIC Retention App.                                                     Huber, Amy             0.1 $ 125.00   $       12.50
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Further emails with UST and co-counsel re: sign off of SOLIC retention                                             Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           Applications
             Review and edit COC for SOLIC retention and coordinate prep and filing of     [ALL] Non-OEB Retention and Fee
02-05-2015                                                                                                                      Klauder, David         0.4 $ 350.00   $      140.00
             same with S. Dougherty                                                        Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Emails with J. Madron at RLF re: COC for SOLIC retention a                                                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-05-2015   Review UCC professionals fee apps                                                                                  Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-06-2015   Review signed SOLIC retention order and emails with co-counsel re: same                                            Klauder, David         0.2 $ 350.00   $       70.00
                                                                                           Applications




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      Date                                   Description                                              Category                   Timekeeper        Hours    Rate          Amount
             Review of interim fee app guidelines and calendar and discuss with S.       [ALL] Non-OEB Retention and Fee
02-09-2015                                                                                                                    Klauder, David         0.2 $ 350.00     $       70.00
             Dougherty                                                                   Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-09-2015   Review procedures regarding interim fee applications                                                             Dougherty, Shannon     0.2 $ 180.00     $       36.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-16-2015   Work on SOLIC retention App                                                                                      Dougherty, Shannon     2.1 $ 180.00     $      378.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-17-2015   Emails with co-counsel re: prep and filing of Proskauer interim fee app                                          Klauder, David         0.2 $ 350.00     $       70.00
                                                                                         Applications
             Various emails and discussions with S. Dougherty re: prep and filing of     [ALL] Non-OEB Retention and Fee
02-17-2015                                                                                                                    Klauder, David         0.2 $ 350.00     $       70.00
             Proskauer interim fee app                                                   Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-17-2015   Review and edit Proskauer interim fee app and coordinate filing of same                                          Klauder, David         0.3 $ 350.00     $      105.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-17-2015   Work on Proskauer's 1st Interim Fee Application.                                                                 Huber, Amy             0.4 $ 125.00     $       50.00
                                                                                         Applications
             Review filings for interim fee app and coordinate service of same to notice [ALL] Non-OEB Retention and Fee
02-17-2015                                                                                                                    Klauder, David         0.1 $ 350.00     $       35.00
             parties and fee committee                                                   Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-24-2015   Work on SOLIC Capital Advisors, LLC's 1st Monthly Fee Statement.                                                 Huber, Amy             0.2 $ 125.00     $       25.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-24-2015   Work on SOLIC Fee Application                                                                                    Dougherty, Shannon     0.1 $ 180.00     $       18.00
                                                                                         Applications
             Review SOLIC monthly fee statement and discuss filing of same with S.       [ALL] Non-OEB Retention and Fee
02-24-2015                                                                                                                    Klauder, David         0.2 $ 350.00     $       70.00
             Dougherty                                                                   Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-25-2015   Correspond with client regarding retained professional's payment package                                         Dougherty, Shannon     0.1 $ 180.00     $       18.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-25-2015   Review fee statement for company                                                                                 Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-27-2015   Work on Proskauer's 2nd Monthly Fee Statement.                                                                   Huber, Amy             0.5 $ 125.00     $       62.50
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-27-2015   Review of Proskauer fee app and coordination re: filing                                                          Klauder, David         0.3 $ 350.00     $      105.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-27-2015   Review various emails re: filing of fee app                                                                      Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
             Check Docket to determine if responses/objections have been filed to        [ALL] Non-OEB Retention and Fee
03-12-2015                                                                                                                    Huber, Amy            0.1    $ 125.00   $       12.50
             Proskauer's 1st Interim Fee App.                                            Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-16-2015   Review and work on Supplemental Declaration to Proskauer's Retention App                                         Dougherty, Shannon    0.5    $ 180.00   $       90.00
                                                                                         Applications
             Work on 3rd Supplemental Declaration of Jeff Marwil in Support of Debtor's [ALL] Non-OEB Retention and Fee
03-16-2015                                                                                                                    Huber, Amy            0.5    $ 125.00   $       62.50
             Application to Employ Proskauer Rose.                                       Applications
             Correspond w/service company regarding service of Supplemental              [ALL] Non-OEB Retention and Fee
03-16-2015                                                                                                                    Dougherty, Shannon    0.2    $ 180.00   $       36.00
             Declaration to Proskauer's Retention App                                    Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-16-2015   Review Proskauer's supp declaration and coordinate filing of same                                                Klauder, David        0.2    $ 350.00   $       70.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNOs regarding Fee Applications                                                                          Dougherty, Shannon    0.3    $ 180.00   $       54.00
                                                                                         Applications




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      Date                                    Description                                             Category                    Timekeeper        Hours    Rate          Amount
                                                                                         [ALL] Non-OEB Retention and Fee
03-23-2015   Emails with co-counsel re: CNOs for fee apps                                                                      Klauder, David        0.1    $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNO re: Proskauer's 2nd Monthly Fee Statement.                                                            Huber, Amy            0.2    $ 125.00   $       25.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNO re: SOLIC's 1st Monthly Fee Statement.                                                                Huber, Amy            0.2    $ 125.00   $       25.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-23-2015   Review CNOs and coordinate filing of same                                                                         Klauder, David        0.1    $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Work on SOLIC MFS                                                                                                 Dougherty, Shannon    0.6    $ 180.00   $      108.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Work on SOLIC's 1st Monthly Fee Statement.                                                                        Huber, Amy            0.3    $ 125.00   $       37.50
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review SOLIC fee app and coordinate for filing                                                                    Klauder, David        0.2    $ 350.00   $       70.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review emails re: revisions to SOLIC fee app                                                                      Klauder, David        0.1    $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review edited SOLIC fee app and coordinate filing and service of same                                             Klauder, David        0.2    $ 350.00   $       70.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-31-2015   Emails with co-counsel re: Proskauer fee stmt                                                                     Klauder, David        0.2    $ 350.00   $       70.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-01-2015   Prepare Proskauer Rose's 3rd Monthly Fee Statement for filing.                                                    Huber, Amy             0.6 $ 125.00     $       75.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-01-2015   Review emails and coordinate service of fee apps                                                                  Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-01-2015   Review Proskauer fee app and coordinate for filing                                                                Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-03-2015   Review committee retention app                                                                                    Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-08-2015   Correspond w/AH regarding Proskauer's 3rd MFS                                                                     Dougherty, Shannon     0.1 $ 180.00     $       18.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-09-2015   Prepare Michael A. Firestein's Pro Hac Vice Motion.                                                               Huber, Amy             0.5 $ 125.00     $       62.50
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-09-2015   Draft and edit motion to admit M. Firestein PHV                                                                   Dougherty, Shannon     0.4 $ 180.00     $       72.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-09-2015   Coordinate filing of pro hac motion for Proskauer atty                                                            Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-09-2015   Emails with co-counsel re: pro hac motion and fee issues                                                          Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-14-2015   Correspond w/DK regarding fee applications                                                                        Dougherty, Shannon     0.1 $ 180.00     $       18.00
                                                                                         Applications
             Prepare Certificate of No Objection regarding Solic's Fee Application for   [ALL] Non-OEB Retention and Fee
04-20-2015                                                                                                                     Dougherty, Shannon     0.2 $ 180.00     $       36.00
             filing                                                                      Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-20-2015   Prepare CNO re: SOLIC's 2nd Monthly Fee Statement for filing.                                                     Huber, Amy             0.4 $ 125.00     $       50.00
                                                                                         Applications




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      Date                                    Description                                                 Category                   Timekeeper        Hours   Rate         Amount
                                                                                             [ALL] Non-OEB Retention and Fee
04-20-2015   Review SOLIC fee app CNO and coordinate filing of same                                                               Klauder, David         0.2 $ 350.00   $       70.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-21-2015   Prepare SOLIC Capital Advisors' 3rd Monthly Fee Statement for filing.                                                Huber, Amy             0.6 $ 125.00   $       75.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-21-2015   Review SOLIC fee statement and coordinate filing of same                                                             Klauder, David         0.3 $ 350.00   $      105.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-21-2015   Emails with Proskauer re: filing and service of SOLIC fee app                                                        Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-21-2015   Prepare SOLIC Fee Application for Service                                                                            Dougherty, Shannon     0.1 $ 180.00   $       18.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-24-2015   Review CNO re Proskauer’s 3rd MFS                                                                                    Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-24-2015   Review CNO for Proskauer fee app and coordinate filing of same                                                       Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-24-2015   Prepare CNO for Proskauer's MFS for filing                                                                           Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-27-2015   Review Guggenheim supplemental declaration                                                                           Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
Subtotal                                                                                                                                                30.7            $    7,686.00
                                                                                             Applications

                                                                                             [ALL] OEB Retention and Fee
01-06-2015   Email to UST re: conference call on retention app                               Applications                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] OEB Retention and Fee
01-06-2015   Emails with UST re: retention app conference call                               Applications                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] OEB Retention and Fee
01-07-2015   Review retention app papers in anticipation of conference call with UST         Applications                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] OEB Retention and Fee
01-07-2015   Conference call with co-counsel and UST re: retention apps                      Applications                         Klauder, David         0.2 $ 350.00   $       70.00
                                                                                             [ALL] OEB Retention and Fee
01-07-2015   Revisions to retention order                                                    Applications                         Klauder, David         0.2 $ 350.00   $       70.00
                                                                                             [ALL] OEB Retention and Fee
01-08-2015   Review revised OEB order and send to Pete Young                                 Applications                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] OEB Retention and Fee
01-08-2015   Work on OEB Retention Application.                                              Applications                         Huber, Amy             0.1 $ 125.00   $       12.50
             Emails and phone call with Pete Young re: supp declaration filing and           [ALL] OEB Retention and Fee
01-08-2015   proposed orders for retention                                                   Applications                         Klauder, David         0.1 $ 350.00   $       35.00
             Prep revised retention papers for filing and coordinate edits of same with A.   [ALL] OEB Retention and Fee
01-08-2015   Huber                                                                           Applications                         Klauder, David         0.6 $ 350.00   $      210.00
                                                                                             [ALL] OEB Retention and Fee
01-08-2015   Emails and phone call with Pete Young re: revised retention papers for OEB      Applications                         Klauder, David         0.1 $ 350.00   $       35.00
                                                                                             [ALL] OEB Retention and Fee
01-08-2015   Draft and edit notices of filing for proposed orders for retention of OEB       Applications                         Klauder, David         0.3 $ 350.00   $      105.00




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      Date                                      Description                                              Category                 Timekeeper        Hours   Rate         Amount
             Coordinate filing of notices of filing for proposed order for retention of OEB
                                                                                            [ALL] OEB Retention and Fee
             and second supp declaration and various discussions with S. Dougherty re:
                                                                                            Applications
01-08-2015   same                                                                                                              Klauder, David         0.3 $ 350.00   $      105.00
             Review final notices for proposed order and discussions with S. Dougherty re: [ALL] OEB Retention and Fee
01-08-2015   same                                                                           Applications                       Klauder, David         0.3 $ 350.00   $      105.00
                                                                                            [ALL] OEB Retention and Fee
01-08-2015   Review email from fee committee with various fee app guidelines                Applications                       Klauder, David         0.3 $ 350.00   $      105.00
             Work on Notice regarding Revised Proposed Order regarding Retention            [ALL] OEB Retention and Fee
01-08-2015   Application                                                                    Applications                       Dougherty, Shannon     0.6 $ 180.00   $      108.00
                                                                                            [ALL] OEB Retention and Fee
01-09-2015   Emails with Epiq re: service of revised retention papers                       Applications                       Klauder, David         0.1 $ 350.00   $       35.00
                                                                                            [ALL] OEB Retention and Fee
01-09-2015   Review Fee Application Guidelines.                                             Applications                       Huber, Amy             0.2 $ 125.00   $       25.00
                                                                                            [ALL] OEB Retention and Fee
01-09-2015   Work on Notice regarding Retention                                             Applications                       Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                            [ALL] OEB Retention and Fee
01-12-2015   Work on retention application binder                                           Applications                       Dougherty, Shannon     0.8 $ 180.00   $      144.00
                                                                                            [ALL] OEB Retention and Fee
01-12-2015   Review retention app and accompanying documents in prep for 1/13 hearing Applications                             Klauder, David         0.1 $ 350.00   $       35.00
             Review UST statement in response to retention app and emails with co-          [ALL] OEB Retention and Fee
01-12-2015   counsel re: same                                                               Applications                       Klauder, David         0.2 $ 350.00   $       70.00
                                                                                            [ALL] OEB Retention and Fee
01-13-2015   Confer w/representative of State of Indiana regarding Retention Apps           Applications                       Dougherty, Shannon     0.1 $ 180.00   $       18.00
                                                                                            [ALL] OEB Retention and Fee
01-14-2015   Emails with S. Dougherty and A. Huber re: fee committee/fee app prep           Applications                       Klauder, David         0.1 $ 350.00   $       35.00
                                                                                        [ALL] OEB Retention and Fee
             Review Initial Memorandum / expense reimbursements, Fee Review Process -
                                                                                        Applications
01-16-2015   Development/Timetable and Budgeting and Expenses Memoranda.                                                       Huber, Amy             0.6 $ 125.00   $       75.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   Review Fee App Guidelines                                                  Applications                           Dougherty, Shannon     0.5 $ 180.00   $       90.00
             Conference call with D. Klauder and S. Dougherty to discuss Fee app        [ALL] OEB Retention and Fee
01-16-2015   guidelines and deadlines.                                                  Applications                           Huber, Amy             0.4 $ 125.00   $       50.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   Review fee committee guidelines and interim comp order                     Applications                           Klauder, David         0.4 $ 350.00   $      140.00
             Discussion with S. Dougherty and A. Huber re: fee committee guidelines and [ALL] OEB Retention and Fee
01-16-2015   prep of fee apps                                                           Applications                           Klauder, David         0.5 $ 350.00   $      175.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   EFH Research re LEDES                                                      Applications                           Dougherty, Shannon     0.9 $ 180.00   $      162.00
                                                                                        [ALL] OEB Retention and Fee
01-16-2015   Confer w/DK re Fee Applications                                            Applications                           Dougherty, Shannon     0.4 $ 180.00   $       72.00
                                                                                        [ALL] OEB Retention and Fee
01-19-2015   Review engagement letter re: fee statements                                Applications                           Klauder, David         0.1 $ 350.00   $       35.00
                                                                                        [ALL] OEB Retention and Fee
01-20-2015   Correspond w/ED regarding LEDES                                            Applications                           Dougherty, Shannon     0.1 $ 180.00   $       18.00




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      Date                                  Description                                                 Category                 Timekeeper        Hours   Rate         Amount
                                                                                           [ALL] OEB Retention and Fee
01-20-2015   Correspond w/TB regarding retention application process                       Applications                       Dougherty, Shannon     0.2 $ 180.00   $       36.00
             Review slides regarding fee applications in preparation for 1/23              [ALL] OEB Retention and Fee
01-22-2015   teleconference                                                                Applications                       Dougherty, Shannon     0.1 $ 180.00   $       18.00
             Review email from Pete Young re: Kirkland phone call and info on fee app      [ALL] OEB Retention and Fee
01-22-2015   and coordinate with S. Dougherty                                              Applications                       Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           [ALL] OEB Retention and Fee
01-23-2015   Review emails from Kirkland with attachments re: fee app procedures           Applications                       Klauder, David         0.3 $ 350.00   $      105.00
                                                                                           [ALL] OEB Retention and Fee
01-23-2015   Discuss fee app procedures with S. Dougherty                                  Applications                       Klauder, David         0.3 $ 350.00   $      105.00
                                                                                           [ALL] OEB Retention and Fee
01-23-2015   Review slides in preparation for teleconference regarding fee applicaitons    Applications                       Dougherty, Shannon     0.4 $ 180.00   $       72.00
                                                                                           [ALL] OEB Retention and Fee
01-23-2015   Participate in teleconference regarding fee applications                      Applications                       Dougherty, Shannon     0.6 $ 180.00   $      108.00
                                                                                           [ALL] OEB Retention and Fee
01-23-2015   Confer w/DK regarding fee applications                                        Applications                       Dougherty, Shannon     0.1 $ 180.00   $       18.00
             Review debtor procedures on fee apps and discuss with S. Dougherty and        [ALL] OEB Retention and Fee
01-26-2015   office mgr                                                                    Applications                       Klauder, David         0.5 $ 350.00   $      175.00
                                                                                           [ALL] OEB Retention and Fee
01-26-2015   Work on First Monthly Fee Application                                         Applications                       Dougherty, Shannon     0.7 $ 180.00   $      126.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Discuss preparation of fee app with S. Dougherty                              Applications                       Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Confer w/W. Dalton re LEDES Invoices                                          Applications                       Dougherty, Shannon     0.1 $ 180.00   $       18.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Correspond and confer w/DK regarding fee applications                         Applications                       Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Review email from Kirkland re: fee app prep                                   Applications                       Klauder, David         0.1 $ 350.00   $       35.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Discussions with S. Dougherty and Eva re: time entries and fee app prep       Applications                       Klauder, David         0.3 $ 350.00   $      105.00
                                                                                           [ALL] OEB Retention and Fee
01-29-2015   Review time entries and discuss fee app prep with S. Dougherty and Eva        Applications                       Klauder, David         0.3 $ 350.00   $      105.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Correspond w/ED and DK regarding Fee Application                              Applications                       Dougherty, Shannon     0.3 $ 180.00   $       54.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Work on First Monthly Fee Application                                         Applications                       Dougherty, Shannon     5.6 $ 180.00   $    1,008.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Work on OEB's 1st Monthly Fee Application.                                    Applications                       Huber, Amy             1.8 $ 125.00   $      225.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Review of OEB's first monthly fee stmt and coordinate prep of same            Applications                       Klauder, David         0.5 $ 350.00   $      175.00
             Various emails and discussions with S. Dougherty re: drafting of OEB          [ALL] OEB Retention and Fee
01-30-2015   monthly fee stmt                                                              Applications                       Klauder, David         0.3 $ 350.00   $      105.00
             Final review and editing of OEB fee stmt and coordinate filing and service of [ALL] OEB Retention and Fee
01-30-2015   same                                                                          Applications                       Klauder, David         0.4 $ 350.00   $      140.00




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      Date                                     Description                                        Category                    Timekeeper        Hours   Rate         Amount
                                                                                     [ALL] OEB Retention and Fee
02-09-2015   Review letter from fee committee re: first monthly fee stmt                                                   Klauder, David         0.1 $ 350.00   $       35.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-10-2015   Discuss interim fee app with S. Dougherty                                                                     Klauder, David         0.2 $ 350.00   $       70.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-10-2015   Research in preparation to draft interim fee application                                                      Dougherty, Shannon     1.2 $ 180.00   $      216.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-10-2015   Prepare and work on OEB's 1st Interim Fee Application.                                                        Huber, Amy             1.2 $ 125.00   $      150.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-11-2015   Correspond w/RE and ED regarding January Monthly Fee Application                                              Dougherty, Shannon     0.1 $ 180.00   $       18.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-11-2015   Work on OEB's 1st Interim Fee Application.                                                                    Huber, Amy             2.2 $ 125.00   $      275.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-11-2015   Work on Interim Fee Application                                                                               Dougherty, Shannon     0.6 $ 180.00   $      108.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-12-2015   Review and edit time entries for interim fee app                                                              Klauder, David         0.2 $ 350.00   $       70.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-12-2015   Work on OEB's 1st Interim Fee Application.                                                                    Huber, Amy             1.9 $ 125.00   $      237.50
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-12-2015   Review draft of interim fee app                                                                               Klauder, David         0.2 $ 350.00   $       70.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-12-2015   Review and work on OEB’s Interim Fee App                                                                      Dougherty, Shannon     1.6 $ 180.00   $      288.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-13-2015   Work on OEB's 1st Interim Fee Application.                                                                    Huber, Amy             0.5 $ 125.00   $       62.50
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-13-2015   Prepare and work on OEB's 2nd Monthly Fee Statement.                                                          Huber, Amy             1.0 $ 125.00   $      125.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-13-2015   Draft Interim Fee App                                                                                         Dougherty, Shannon     1.9 $ 180.00   $      342.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-13-2015   Review interim fee app and discuss issues with S. Dougherty                                                   Klauder, David         0.4 $ 350.00   $      140.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-15-2015   Edits to interim fee app                                                                                      Klauder, David         0.5 $ 350.00   $      175.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-16-2015   Work on OEB's 1st Interim Fee Application.                                                                    Huber, Amy             2.5 $ 125.00   $      312.50
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-16-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                      Huber, Amy             0.1 $ 125.00   $       12.50
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-16-2015   Edits to first interim fee app and discuss with S. Dougherty                                                  Klauder, David         0.4 $ 350.00   $      140.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-16-2015   Review and edit first interim fee app and exhibits                                                            Klauder, David         0.3 $ 350.00   $      105.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-16-2015   Discuss blended hourly rates with E. DeVincentis                                                              Klauder, David         0.1 $ 350.00   $       35.00
                                                                                     Applications
                                                                                     [ALL] OEB Retention and Fee
02-17-2015   Review and work on OEB’s Interim Fee App                                                                      Dougherty, Shannon     3.9 $ 180.00   $      702.00
                                                                                     Applications




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      Date                                    Description                                             Category                  Timekeeper        Hours   Rate         Amount
             Various emails and discussions with S. Dougherty re: prep and filing of OEB [ALL] OEB Retention and Fee
02-17-2015                                                                                                                   Klauder, David         0.2 $ 350.00   $       70.00
             interim fee app                                                             Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Review and edit OEB interim fee app and coordinate filing of same                                               Klauder, David         0.3 $ 350.00   $      105.00
                                                                                         Applications
             Review filings for interim fee app and coordinate service of same to notice [ALL] OEB Retention and Fee
02-17-2015                                                                                                                   Klauder, David         0.1 $ 350.00   $       35.00
             parties and fee committee                                                   Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Emails with co-counsel re: filing of interim fee apps                                                           Klauder, David         0.1 $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Review emails with Epiq re: service of fee app                                                                  Klauder, David         0.1 $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-18-2015   Review letter from fee committee re: budgets                                                                    Klauder, David         0.1 $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-19-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy             0.5 $ 125.00   $       62.50
                                                                                         Applications
             Confer with D. Klauder and S. Dougherty regarding upcoming deadline to file [ALL] OEB Retention and Fee
02-19-2015                                                                                                                   Huber, Amy             0.1 $ 125.00   $       12.50
             Monthly Fee App.                                                            Applications
                                                                                         [ALL] OEB Retention and Fee
02-19-2015   Emails with A. Huber re: January time invoices                                                                  Klauder, David         0.1 $ 350.00   $       35.00
                                                                                         Applications
             Correspond w/co-counsel regarding SOLIC Monthly Fee Statement and           [ALL] OEB Retention and Fee
02-23-2015                                                                                                                   Dougherty, Shannon     0.1 $ 180.00   $       18.00
             CNOs to OEB and Proskauer's Fee Applications                                Applications
             Draft and work on Certificate of No Objection to First Monthly Fee          [ALL] OEB Retention and Fee
02-23-2015                                                                                                                   Dougherty, Shannon     0.7 $ 180.00   $      126.00
             Application                                                                 Applications
                                                                                         [ALL] OEB Retention and Fee
02-23-2015   Work on Monthly Fee Statement                                                                                   Dougherty, Shannon     0.7 $ 180.00   $      126.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-23-2015   Review CNOs for fee apps                                                                                        Klauder, David         0.1 $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-24-2015   Work on OEB's Monthly Fee Invoice Statement.                                                                    Huber, Amy             0.8 $ 125.00   $      100.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-24-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy             0.5 $ 125.00   $       62.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-24-2015   Review and edit January monthly fee app                                                                         Klauder, David         0.4 $ 350.00   $      140.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-24-2015   Correspond w/AH regarding Monthly Fee Invoice Statement                                                         Dougherty, Shannon     0.1 $ 180.00   $       18.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-24-2015   Research regarding fee applications                                                                             Dougherty, Shannon     0.1 $ 180.00   $       18.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-25-2015   Review Monthly Fee Invoice Statement                                                                            Dougherty, Shannon     0.3 $ 180.00   $       54.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-25-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy             1.0 $ 125.00   $      125.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-25-2015   Review January monthly fee statement                                                                            Klauder, David         0.1 $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-26-2015   Review Monthly Fee Statement                                                                                    Dougherty, Shannon     0.4 $ 180.00   $       72.00
                                                                                         Applications




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      Date                                    Description                                              Category                    Timekeeper        Hours    Rate          Amount
                                                                                          [ALL] OEB Retention and Fee
02-26-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                           Huber, Amy             0.3 $ 125.00     $       37.50
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
02-26-2015   Emails re: Jan monthly fee statement                                                                               Klauder, David         0.1 $ 350.00     $       35.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
02-27-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                           Huber, Amy             0.3 $ 125.00     $       37.50
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
02-27-2015   Work on Monthly Fee Statement                                                                                      Dougherty, Shannon     0.6 $ 180.00     $      108.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
02-27-2015   Review of OEB fee app and coordination re: filing                                                                  Klauder, David         0.2 $ 350.00     $       70.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
02-27-2015   Review various emails re: filing of fee app                                                                        Klauder, David         0.1 $ 350.00     $       35.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-09-2015   Review memo from fee app committee                                                                                 Dougherty, Shannon    0.1    $ 180.00   $       18.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-09-2015   Review of email and memo from Fee committee                                                                        Klauder, David        0.1    $ 350.00   $       35.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-10-2015   Confer w/client regarding fee application                                                                          Dougherty, Shannon    0.1    $ 180.00   $       18.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-10-2015   Review fee committee's recent memo on rate increases                                                               Klauder, David        0.1    $ 350.00   $       35.00
                                                                                          Applications
             Check Docket to determine if responses/objections have been filed to OEB's   [ALL] OEB Retention and Fee
03-12-2015                                                                                                                      Huber, Amy            0.1    $ 125.00   $       12.50
             1st Interim Fee App.                                                         Applications
                                                                                          [ALL] OEB Retention and Fee
03-12-2015   Review memorandum from fee committee regarding interim fee applications                                            Dougherty, Shannon    0.5    $ 180.00   $       90.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-12-2015   Correspond w/DK and AH regarding February MFS                                                                      Dougherty, Shannon    0.1    $ 180.00   $       18.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-16-2015   Prepare and work on OEB's 3rd Monthly Fee Statement.                                                               Huber, Amy            0.8    $ 125.00   $      100.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-23-2015   Work on CNOs regarding Fee Applications                                                                            Dougherty, Shannon    0.3    $ 180.00   $       54.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-23-2015   Prepare and work on CNO re: OEB's 2nd Monthly Fee Statement.                                                       Huber, Amy            0.6    $ 125.00   $       75.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-23-2015   Review CNOs and coordinate filing of same                                                                          Klauder, David        0.1    $ 350.00   $       35.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-23-2015   Work on Monthly Fee Invoice Statement                                                                              Dougherty, Shannon    0.4    $ 180.00   $       72.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-23-2015   Review OEB fee app information                                                                                     Klauder, David        0.1    $ 350.00   $       35.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-26-2015   Review and edit OEB fee app entries and coordinate prep of fee app                                                 Klauder, David        0.2    $ 350.00   $       70.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-26-2015   Work on OEB's 3rd Monthly Fee Statement.                                                                           Huber, Amy            1.2    $ 125.00   $      150.00
                                                                                          Applications
                                                                                          [ALL] OEB Retention and Fee
03-26-2015   Work on OEB's MFS                                                                                                  Dougherty, Shannon    0.1    $ 180.00   $       18.00
                                                                                          Applications




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      Date                                 Description                                                Category                  Timekeeper        Hours    Rate          Amount
                                                                                         [ALL] OEB Retention and Fee
03-26-2015   Emails re: OEB Feb fee statement                                                                                Klauder, David        0.1    $ 350.00   $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-27-2015   Review OEB monthly fee stmt                                                                                     Klauder, David        0.2    $ 350.00   $       70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-31-2015   Work on OEB's 3rd Monthly Fee Statement.                                                                        Huber, Amy            0.9    $ 125.00   $      112.50
                                                                                         Applications
             Review end edit OEB Feb fee statement and coordinate filing of same with S. [ALL] OEB Retention and Fee
03-31-2015                                                                                                                   Klauder, David        0.4    $ 350.00   $      140.00
             Dougherty and C. Stephenson                                                 Applications
                                                                                         [ALL] OEB Retention and Fee
04-01-2015   Draft and edit OEB Feb MFS                                                                                      Dougherty, Shannon     0.4 $ 180.00     $       72.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-01-2015   Review emails and coordinate service of fee apps                                                                Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-07-2015   Review correspondence from Fee Committee                                                                        Dougherty, Shannon     0.1 $ 180.00     $       18.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-07-2015   Review fee committee letter re: interim fee app                                                                 Klauder, David         0.2 $ 350.00     $       70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-10-2015   Email with fee committee counsel re: first interim fee app                                                      Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-14-2015   Phone call with fee committee counsel re: OEB first interim fee app                                             Klauder, David         0.3 $ 350.00     $      105.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-14-2015   Correspond w/DK regarding fee applications                                                                      Dougherty, Shannon     0.1 $ 180.00     $       18.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-20-2015   Prepare CNO re: OEB's 3rd Monthly Fee Statement.                                                                Huber, Amy             0.7 $ 125.00     $       87.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-20-2015   Review letter re: monthly fee app                                                                               Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-23-2015   Confer w/DK and ED regarding Second Interim OEB Fee Application                                                 Dougherty, Shannon     0.4 $ 180.00     $       72.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-23-2015   Confer with S. Dougherty regarding preparation of monthly fee statement.                                        Huber, Amy             0.1 $ 125.00     $       12.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-23-2015   Review OEB's January 2015 Monthly Fee Statement.                                                                Huber, Amy             0.3 $ 125.00     $       37.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Prepare OEB's Monthly Fee Invoice Statement.                                                                    Huber, Amy             0.3 $ 125.00     $       37.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Edit CNO re: OEB's 3rd Monthly Fee Statement.                                                                   Huber, Amy             0.3 $ 125.00     $       37.50
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Review CNO re OEB’s 3rd MFS                                                                                     Dougherty, Shannon     0.2 $ 180.00     $       36.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Confer w/Sharon at EFH regarding 2nd OEB MFS                                                                    Dougherty, Shannon     0.2 $ 180.00     $       36.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Review CNO for OEB fee app and coordinate filing of same                                                        Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-24-2015   Review email from S. Dougherty with fee stmt info                                                               Klauder, David         0.1 $ 350.00     $       35.00
                                                                                         Applications




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      Date                                 Description                                               Category                   Timekeeper        Hours   Rate         Amount
                                                                                        [ALL] OEB Retention and Fee
04-24-2015   Prepare Payment Package for delivery to client                                                                  Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-27-2015   Correspond and w/G. Moore regarding February and March MFS                                                      Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-28-2015   Prepare OEB's 4th Monthly Fee Statement for March 2015.                                                         Huber, Amy             1.4 $ 125.00   $      175.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-29-2015   Correspond w/DK, AH and ED regarding March MFS                                                                  Dougherty, Shannon     0.1 $ 180.00   $       18.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-29-2015   Edit OEB's 4th Monthly Fee Statement for March 2015.                                                            Huber, Amy             1.1 $ 125.00   $      137.50
                                                                                        Applications
             Confer with S. Dougherty regarding OEB's 4th Monthly Fee Statement for     [ALL] OEB Retention and Fee
04-29-2015                                                                                                                   Huber, Amy             0.1 $ 125.00   $       12.50
             March 2015.                                                                Applications
                                                                                        [ALL] OEB Retention and Fee
04-29-2015   Review March MFS                                                                                                Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-29-2015   Review and edit monthly fee statement                                                                           Klauder, David         0.3 $ 350.00   $      105.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-30-2015   Correspond w/AH and ED regarding March MFS                                                                      Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-30-2015   Conver with S. Dougherty and E. deVincentis regarding LEDES invoice.                                            Huber, Amy             0.1 $ 125.00   $       12.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-30-2015   Review March MFS                                                                                                Dougherty, Shannon     0.2 $ 180.00   $       36.00
                                                                                        Applications
             Review Retained Professionals Payment Process relating to Review/Objection [ALL] OEB Retention and Fee
04-30-2015                                                                                                                   Huber, Amy             0.1 $ 125.00   $       12.50
             Period.                                                                    Applications
                                                                                        [ALL] OEB Retention and Fee
04-30-2015   Edit OEB's 4th Monthly Fee Statement for March 2015.                                                            Huber, Amy             0.5 $ 125.00   $       62.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-30-2015   Coordinate the filing of OEB's 4th Monthly Fee Statement for March 2015.                                        Huber, Amy             0.2 $ 125.00   $       25.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-30-2015   Final review of monthly fee stmt and coordinate filing of same                                                  Klauder, David         0.1 $ 350.00   $       35.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
04-30-2015   Prepare OEB March MFS for service                                                                               Dougherty, Shannon     0.3 $ 180.00   $       54.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
Subtotal                                                                                                                                           68.0            $    13,358.00
                                                                                        Applications

01-07-2015   Review various bidding procedures motions and objections                 [ALL] Plan and Disclosure Statements   Klauder, David         0.3 $ 350.00   $      105.00
             Review COC and proposed bidding procedures order along with minutes of
                                                                                      [ALL] Plan and Disclosure Statements
01-13-2015   EFH disinterested directors meeting                                                                             Klauder, David         0.3 $ 350.00   $      105.00
01-21-2015   Review exclusivity motion                                                [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $       70.00
02-03-2015   Review WSFS objection to exclusivity                                     [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $       35.00
02-04-2015   Review exclusivity objections                                            [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00   $       70.00
02-05-2015   Review EFH committee response to exclusivity                             [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $       35.00
02-06-2015   Review exclusivity papers filed by debtor, including revised order       [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $       35.00
02-06-2015   Review reservation of rights on exclusivity                              [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $       35.00
02-08-2015   Review response to exclusivity                                           [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00   $       35.00


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      Date                                       Description                                                Category                   Timekeeper        Hours    Rate         Amount
02-09-2015   Review debtor reply to exclusivity responses                                    [ALL] Plan and Disclosure Statements   Klauder, David          0.2 $ 350.00   $       70.00
03-11-2015   Review of proposed confirmation timeline                                        [ALL] Plan and Disclosure Statements   Klauder, David        0.1 $ 350.00     $       35.00
03-11-2015   Review of proposed plan term sheet                                              [ALL] Plan and Disclosure Statements   Klauder, David        0.3 $ 350.00     $      105.00
             Phone call with Pete Young re: various aspects of case, including plan
04-10-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             negotiations and 4/14 omnibus hearing
04-10-2015   Review of motion to quash depo of Hugh Sawyer                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
04-13-2015   Review Disinterested Directors' statement regarding conflict matters            [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.3 $ 180.00    $       54.00
             Various emails with co-counsel re: filing statement of disinterested directors
04-13-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             on proposed settlement
             Discuss coordination of filing statement of disinterested directors on proposed
04-13-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             settlement with S. Dougherty
             Review statement of disinterested directors on proposed settlement and
04-13-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.4 $ 350.00    $      140.00
             various exhibits
             Review and respond to emails with P. Young and Kirkland re: plan filing and
04-13-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             filing of stmt of disinterested directors
             Edit Disinterested Directors' Statement in Support of Plan and prepare for
04-14-2015                                                                                   [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.6 $ 180.00    $      108.00
             filing.
             Review various emails from Kirkland attorneys re: filing of plan, disc
04-14-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             statement and related documents
             Review EFH disinterested directors statement in support of settlement and
04-14-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.4 $ 350.00    $      140.00
             coordinate filing with S. Dougherty
             Various emails with P. Young re: filing and service of disinterested directors
04-14-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             statement in support of settlement
             Review proposed stip to continue standing motion and proposed confirmation
04-14-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             timeline
04-15-2015   Confer w/reporter regarding plan, correspond w/DK regarding same                [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.1 $ 180.00    $       18.00
             Email and discussion with S. Dougherty re: reporter phone call on the plan of
04-15-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             reorg
             Review letter from counsel for indenture trustee re: plan of reorg issues and
04-16-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             questions
04-20-2015   Review emails re: conference call with indenture trustee                        [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00    $       35.00
04-27-2015   Review EFH Indenture Trustee objection to scheduling order                      [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             Review various objections and responses to plan scheduling order, including
04-27-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.3 $ 350.00    $      105.00
             EFH committee and and EFIH IT
04-28-2015   Review of additional objections and responses to plan scheduling motion         [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
04-29-2015   Review Deposition Notice                                                        [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.1 $ 180.00    $       18.00
04-29-2015   Review Omnibus Reply and prepare for filing                                     [ALL] Plan and Disclosure Statements   Dougherty, Shannon     0.4 $ 180.00    $       72.00
04-29-2015   Review notice of EFH Corp deposition                                            [ALL] Plan and Disclosure Statements   Klauder, David         0.1 $ 350.00    $       35.00
             Review email from Proskauer and draft reply of disinterested directors to plan
04-29-2015                                                                                   [ALL] Plan and Disclosure Statements   Klauder, David         0.2 $ 350.00    $       70.00
             scheduling motion objections




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      Date                                      Description                                              Category                   Timekeeper    Hours   Rate         Amount
              Review final reply of disinterested directors to plan scheduling motion
04-29-2015                                                                                [ALL] Plan and Disclosure Statements   Klauder, David     0.4 $ 350.00   $      140.00
              objections and coordinate filing of same
04-29-2015    Emails with P. Young at Proskauer re: filed reply                           [ALL] Plan and Disclosure Statements Klauder, David       0.1 $ 350.00   $        35.00
04-30-2015    Review Debtor's reply to case protocol motion objections                    [ALL] Plan and Disclosure Statements Klauder, David       0.2 $ 350.00   $        70.00
Subtotal                                                                                  [ALL] Plan and Disclosure Statements                      8.2            $     2,615.00

GRAND TOTAL                                                                                                                                       138.6            $    33,579.50




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      Date                                   Description                                                  Category                   Timekeeper        Hours Rate         Amount
01-05-2015   Research regarding pro hac vice motions                                          [ALL] Case Administration           Dougherty, Shannon     0.2 $ 180.00   $    36.00
             Discussions and coordinate re: 1/6 teleconference with UST on retention
                                                                                              [ALL] Case Administration
01-06-2015   issues                                                                                                               Dougherty, Shannon     0.3 $ 180.00   $    54.00
01-06-2015   Research regarding motions to appear PHV                                         [ALL] Case Administration           Dougherty, Shannon     0.4 $ 180.00   $    72.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-06-2015   Work on Motions to Appear PHV                                                    Applications                        Dougherty, Shannon     0.3 $ 180.00   $    54.00
01-07-2015   Schedule Teleconference                                                          [ALL] Case Administration           Dougherty, Shannon     0.1 $ 180.00   $    18.00
             Work on Notice regarding Revised Proposed Order regarding Retention              [ALL] Non-OEB Retention and Fee
01-08-2015   Application                                                                      Applications                        Dougherty, Shannon     0.6 $ 180.00   $   108.00
             Work on Notice regarding Revised Proposed Order regarding Retention              [ALL] OEB Retention and Fee
01-08-2015   Application                                                                      Applications                        Dougherty, Shannon     0.6 $ 180.00   $   108.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-09-2015   Work on Notice regarding Retention                                               Applications                        Dougherty, Shannon     0.2 $ 180.00   $    36.00
                                                                                              [ALL] OEB Retention and Fee
01-09-2015   Work on Notice regarding Retention                                               Applications                        Dougherty, Shannon     0.2 $ 180.00   $    36.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-12-2015   Work on retention application binder                                             Applications                        Dougherty, Shannon     0.8 $ 180.00   $   144.00
                                                                                              [ALL] OEB Retention and Fee
01-12-2015   Work on retention application binder                                             Applications                        Dougherty, Shannon     0.8 $ 180.00   $   144.00
01-13-2015   Prepare documents for delivery to co-counsel                                     [ALL] Case Administration           Dougherty, Shannon     0.1 $ 180.00   $    18.00
                                                                                              [ALL] OEB Retention and Fee
01-13-2015   Confer w/representative of State of Indiana regarding Retention Apps             Applications                        Dougherty, Shannon     0.1 $ 180.00   $    18.00
                                                                                              [ALL] OEB Retention and Fee
01-16-2015   Review Fee App Guidelines                                                        Applications                        Dougherty, Shannon     0.5 $ 180.00   $    90.00
                                                                                              [ALL] OEB Retention and Fee
01-16-2015   EFH Research re LEDES                                                            Applications                        Dougherty, Shannon     0.9 $ 180.00   $   162.00
                                                                                              [ALL] OEB Retention and Fee
01-16-2015   Confer w/DK re Fee Applications                                                  Applications                        Dougherty, Shannon     0.4 $ 180.00   $    72.00
                                                                                              [ALL] OEB Retention and Fee
01-20-2015   Correspond w/ED regarding LEDES                                                  Applications                        Dougherty, Shannon     0.1 $ 180.00   $    18.00
                                                                                              [ALL] OEB Retention and Fee
01-20-2015   Correspond w/TB regarding retention application process                          Applications                        Dougherty, Shannon     0.2 $ 180.00   $    36.00
             Review slides regarding fee applications in preparation for 1/23                 [ALL] OEB Retention and Fee
01-22-2015   teleconference                                                                   Applications                        Dougherty, Shannon     0.1 $ 180.00   $    18.00
                                                                                              [ALL] OEB Retention and Fee
01-23-2015   Review slides in preparation for teleconference regarding fee applicaitons       Applications                        Dougherty, Shannon     0.4 $ 180.00   $    72.00
                                                                                              [ALL] OEB Retention and Fee
01-23-2015   Participate in teleconference regarding fee applications                         Applications                        Dougherty, Shannon     0.6 $ 180.00   $   108.00
                                                                                              [ALL] OEB Retention and Fee
01-23-2015   Confer w/DK regarding fee applications                                           Applications                        Dougherty, Shannon     0.1 $ 180.00   $    18.00
             Confer w/texas counsel to century geophysical corp. regarding executory          [ALL] Exec. Contracts & Unexpired
01-26-2015   contract                                                                         Leases                              Dougherty, Shannon     0.3 $ 180.00   $    54.00




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      Date                                    Description                                            Category                  Timekeeper       Hours   Rate         Amount
                                                                                        [ALL] OEB Retention and Fee
01-26-2015   Work on First Monthly Fee Application                                      Applications                       Dougherty, Shannon     0.7 $ 180.00   $     126.00
                                                                                        [ALL] OEB Retention and Fee
01-28-2015   Confer w/W. Dalton re LEDES Invoices                                       Applications                       Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                        [ALL] OEB Retention and Fee
01-28-2015   Correspond and confer w/DK regarding fee applications                      Applications                       Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                        [ALL] OEB Retention and Fee
01-30-2015   Correspond w/ED and DK regarding Fee Application                           Applications                       Dougherty, Shannon     0.3 $ 180.00   $      54.00
                                                                                        [ALL] OEB Retention and Fee
01-30-2015   Work on First Monthly Fee Application                                      Applications                       Dougherty, Shannon     5.6 $ 180.00   $ 1,008.00
                                                                                        [ALL] Non-OEB Retention and Fee
02-05-2015   Draft and work on COC regarding SOLIC Retention Application                                                   Dougherty, Shannon     0.9 $ 180.00   $     162.00
                                                                                        Applications
02-06-2015   Confer w/teleconference company regarding 2/10 hearing                     [ALL] Case Administration          Dougherty, Shannon     0.4 $ 180.00   $      72.00
02-09-2015   Confer w/teleconference company regarding 2/10 hearing                     [ALL] Case Administration          Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                        [ALL] Non-OEB Retention and Fee
02-09-2015   Review procedures regarding interim fee applications                                                          Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                        Applications
02-10-2015   Research regarding 2/10/15 hearing                                         [ALL] Case Administration          Dougherty, Shannon     0.3 $ 180.00   $      54.00
                                                                                        [ALL] OEB Retention and Fee
02-10-2015   Research in preparation to draft interim fee application                                                      Dougherty, Shannon     1.2 $ 180.00   $     216.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-11-2015   Correspond w/RE and ED regarding January Monthly Fee Application                                              Dougherty, Shannon     0.1 $ 180.00   $      18.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-11-2015   Work on Interim Fee Application                                                                               Dougherty, Shannon     0.6 $ 180.00   $     108.00
                                                                                        Applications
02-12-2015   Research regarding 2/10 transcript                                         [ALL] Case Administration          Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                        [ALL] OEB Retention and Fee
02-12-2015   Review and work on OEB’s Interim Fee App                                                                      Dougherty, Shannon     1.6 $ 180.00   $     288.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-13-2015   Draft Interim Fee App                                                                                         Dougherty, Shannon     1.9 $ 180.00   $     342.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
02-16-2015   Work on SOLIC retention App                                                                                   Dougherty, Shannon     2.1 $ 180.00   $     378.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-17-2015   Review and work on OEB’s Interim Fee App                                                                      Dougherty, Shannon     3.9 $ 180.00   $     702.00
                                                                                        Applications
02-18-2015   Work on Amended Schedules                                                  [ALL] Case Administration          Dougherty, Shannon     0.9 $ 180.00   $     162.00
02-20-2015   Correspond w/Epiq regarding amended schedule F                             [ALL] Case Administration          Dougherty, Shannon     0.1 $ 180.00   $      18.00
02-23-2015   Research regarding CNO                                                     [ALL] Case Administration          Dougherty, Shannon     0.1 $ 180.00   $      18.00
02-23-2015   Work on Notice of Withdrawal regarding Amended Schedules                   [ALL] Case Administration          Dougherty, Shannon     0.4 $ 180.00   $      72.00
             Correspond w/co-counsel regarding Notice of Withdrawal regarding
02-23-2015                                                                              [ALL] Case Administration          Dougherty, Shannon     0.1 $ 180.00   $      18.00
             Amended Schedules,
             Correspond w/co-counsel regarding SOLIC Monthly Fee Statement and          [ALL] OEB Retention and Fee
02-23-2015                                                                                                                 Dougherty, Shannon     0.1 $ 180.00   $      18.00
             CNOs to OEB and Proskauer's Fee Applications                               Applications
             Draft and work on Certificate of No Objection to First Monthly Fee         [ALL] OEB Retention and Fee
02-23-2015                                                                                                                 Dougherty, Shannon     0.7 $ 180.00   $     126.00
             Application                                                                Applications




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      Date                                Description                                              Category                 Timekeeper       Hours    Rate          Amount
                                                                                      [ALL] OEB Retention and Fee
02-23-2015   Work on Monthly Fee Statement                                                                              Dougherty, Shannon     0.7 $ 180.00     $     126.00
                                                                                      Applications
                                                                                      [ALL] Non-OEB Retention and Fee
02-24-2015   Work on SOLIC Fee Application                                                                              Dougherty, Shannon     0.1 $ 180.00     $      18.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-24-2015   Correspond w/AH regarding Monthly Fee Invoice Statement                                                    Dougherty, Shannon     0.1 $ 180.00     $      18.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-24-2015   Research regarding fee applications                                                                        Dougherty, Shannon     0.1 $ 180.00     $      18.00
                                                                                      Applications
                                                                                      [ALL] Non-OEB Retention and Fee
02-25-2015   Correspond with client regarding retained professional's payment package                                   Dougherty, Shannon     0.1 $ 180.00     $      18.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-25-2015   Review Monthly Fee Invoice Statement                                                                       Dougherty, Shannon     0.3 $ 180.00     $      54.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-26-2015   Review Monthly Fee Statement                                                                               Dougherty, Shannon     0.4 $ 180.00     $      72.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-27-2015   Work on Monthly Fee Statement                                                                              Dougherty, Shannon     0.6 $ 180.00     $     108.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
03-09-2015   Review memo from fee app committee                                                                         Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
03-10-2015   Confer w/client regarding fee application                                                                  Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
03-12-2015   Review memorandum from fee committee regarding interim fee applications                                    Dougherty, Shannon    0.5    $ 180.00   $      90.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
03-12-2015   Correspond w/DK and AH regarding February MFS                                                              Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                      Applications
                                                                                      [ALL] Non-OEB Retention and Fee
03-16-2015   Review and work on Supplemental Declaration to Proskauer's Retention App                                   Dougherty, Shannon    0.5    $ 180.00   $      90.00
                                                                                      Applications
             Correspond w/service company regarding service of Supplemental           [ALL] Non-OEB Retention and Fee
03-16-2015                                                                                                              Dougherty, Shannon    0.2    $ 180.00   $      36.00
             Declaration to Proskauer's Retention App                                 Applications
                                                                                      [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNOs regarding Fee Applications                                                                    Dougherty, Shannon    0.3    $ 180.00   $      54.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
03-23-2015   Work on CNOs regarding Fee Applications                                                                    Dougherty, Shannon    0.3    $ 180.00   $      54.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
03-23-2015   Work on Monthly Fee Invoice Statement                                                                      Dougherty, Shannon    0.4    $ 180.00   $      72.00
                                                                                      Applications
                                                                                      [ALL] Non-OEB Retention and Fee
03-26-2015   Work on SOLIC MFS                                                                                          Dougherty, Shannon    0.6    $ 180.00   $     108.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
03-26-2015   Work on OEB's MFS                                                                                          Dougherty, Shannon    0.1    $ 180.00   $      18.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
04-01-2015   Draft and edit OEB Feb MFS                                                                                 Dougherty, Shannon     0.4 $ 180.00     $      72.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
04-07-2015   Review correspondence from Fee Committee                                                                   Dougherty, Shannon     0.1 $ 180.00     $      18.00
                                                                                      Applications




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      Date                                   Description                                                  Category                   Timekeeper        Hours   Rate         Amount
                                                                                             [ALL] Non-OEB Retention and Fee
04-08-2015   Correspond w/AH regarding Proskauer's 3rd MFS                                                                       Dougherty, Shannon      0.1 $ 180.00   $      18.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-09-2015   Draft and edit motion to admit M. Firestein PHV                                                                     Dougherty, Shannon      0.4 $ 180.00   $      72.00
                                                                                             Applications
04-13-2015   Review Agenda in preparation for 4/14 hearing                                   [ALL] Case Administration           Dougherty, Shannon      0.2 $ 180.00   $      36.00
04-13-2015   Review Disinterested Directors' statement regarding conflict matters            [ALL] Plan and Disclosure Statements Dougherty, Shannon     0.3 $ 180.00   $      54.00
             Review Stipulation regarding adjournment of standing motions in preparation
04-14-2015                                                                               [ALL] Case Administration               Dougherty, Shannon      0.2 $ 180.00   $      36.00
             for 4/14 hearing
                                                                                         [ALL] Non-OEB Retention and Fee
04-14-2015   Correspond w/DK regarding fee applications                                                                          Dougherty, Shannon      0.1 $ 180.00   $      18.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-14-2015   Correspond w/DK regarding fee applications                                                                          Dougherty, Shannon      0.1 $ 180.00   $      18.00
                                                                                         Applications
             Edit Disinterested Directors' Statement in Support of Plan and prepare for
04-14-2015                                                                               [ALL] Plan and Disclosure Statements    Dougherty, Shannon      0.6 $ 180.00   $     108.00
             filing.
04-15-2015   Confer w/reporter regarding plan, correspond w/DK regarding same                [ALL] Plan and Disclosure Statements Dougherty, Shannon     0.1 $ 180.00   $      18.00
             Prepare Certificate of No Objection regarding Solic's Fee Application for       [ALL] Non-OEB Retention and Fee
04-20-2015                                                                                                                       Dougherty, Shannon      0.2 $ 180.00   $      36.00
             filing                                                                          Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-21-2015   Prepare SOLIC Fee Application for Service                                                                           Dougherty, Shannon      0.1 $ 180.00   $      18.00
                                                                                             Applications
                                                                                             [ALL] OEB Retention and Fee
04-23-2015   Confer w/DK and ED regarding Second Interim OEB Fee Application                                                     Dougherty, Shannon      0.4 $ 180.00   $      72.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-24-2015   Review CNO re Proskauer’s 3rd MFS                                                                                   Dougherty, Shannon      0.2 $ 180.00   $      36.00
                                                                                             Applications
                                                                                             [ALL] Non-OEB Retention and Fee
04-24-2015   Prepare CNO for Proskauer's MFS for filing                                                                          Dougherty, Shannon      0.2 $ 180.00   $      36.00
                                                                                             Applications
                                                                                             [ALL] OEB Retention and Fee
04-24-2015   Review CNO re OEB’s 3rd MFS                                                                                         Dougherty, Shannon      0.2 $ 180.00   $      36.00
                                                                                             Applications
                                                                                             [ALL] OEB Retention and Fee
04-24-2015   Confer w/Sharon at EFH regarding 2nd OEB MFS                                                                        Dougherty, Shannon      0.2 $ 180.00   $      36.00
                                                                                             Applications
                                                                                             [ALL] OEB Retention and Fee
04-24-2015   Prepare Payment Package for delivery to client                                                                      Dougherty, Shannon      0.2 $ 180.00   $      36.00
                                                                                             Applications
                                                                                             [ALL] OEB Retention and Fee
04-27-2015   Correspond and w/G. Moore regarding February and March MFS                                                          Dougherty, Shannon      0.2 $ 180.00   $      36.00
                                                                                             Applications
                                                                                             [ALL] OEB Retention and Fee
04-29-2015   Correspond w/DK, AH and ED regarding March MFS                                                                      Dougherty, Shannon      0.1 $ 180.00   $      18.00
                                                                                             Applications
                                                                                             [ALL] OEB Retention and Fee
04-29-2015   Review March MFS                                                                                                    Dougherty, Shannon      0.2 $ 180.00   $      36.00
                                                                                             Applications
04-29-2015   Review Deposition Notice                                                        [ALL] Plan and Disclosure Statements Dougherty, Shannon     0.1 $ 180.00   $      18.00

04-29-2015   Review Omnibus Reply and prepare for filing                                     [ALL] Plan and Disclosure Statements Dougherty, Shannon     0.4 $ 180.00   $      72.00




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      Date                                 Description                                             Category                  Timekeeper       Hours   Rate         Amount
                                                                                      [ALL] OEB Retention and Fee
04-30-2015   Correspond w/AH and ED regarding March MFS                                                                  Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
04-30-2015   Review March MFS                                                                                            Dougherty, Shannon     0.2 $ 180.00   $      36.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
04-30-2015   Prepare OEB March MFS for service                                                                           Dougherty, Shannon     0.3 $ 180.00   $      54.00
                                                                                      Applications
Subtotal                                                                                                                 Dougherty, Shannon    42.8 $ 180.00   $ 7,704.00

                                                                                      [ALL] Non-OEB Retention and Fee
01-08-2015   Work on Proskauer Retention Application.                                 Applications                       Huber, Amy             0.5 $ 125.00   $      62.50
                                                                                      [ALL] OEB Retention and Fee
01-08-2015   Work on OEB Retention Application.                                       Applications                       Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                      [ALL] OEB Retention and Fee
01-09-2015   Review Fee Application Guidelines.                                       Applications                       Huber, Amy             0.2 $ 125.00   $      25.00
01-16-2015   Review Order Scheduling Omnibus Hearing Date                             [ALL] Case Administration          Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                      [ALL] Non-OEB Retention and Fee
01-16-2015   Work on SOLIC Capital Advisors' Retention Application.                   Applications                       Huber, Amy             1.2 $ 125.00   $     150.00

                                                                                      [ALL] OEB Retention and Fee
             Review Initial Memorandum / expense reimbursements, Fee Review Process -
                                                                                      Applications
01-16-2015   Development/Timetable and Budgeting and Expenses Memoranda.                                                 Huber, Amy             0.6 $ 125.00   $      75.00
             Conference call with D. Klauder and S. Dougherty to discuss Fee app      [ALL] OEB Retention and Fee
01-16-2015   guidelines and deadlines.                                                Applications                       Huber, Amy             0.4 $ 125.00   $      50.00
                                                                                      [ALL] Non-OEB Retention and Fee
01-30-2015   Work on Proskauer's 1st Monthly Fee Application.                         Applications                       Huber, Amy             1.1 $ 125.00   $     137.50
                                                                                      [ALL] OEB Retention and Fee
01-30-2015   Work on OEB's 1st Monthly Fee Application.                               Applications                       Huber, Amy             1.8 $ 125.00   $     225.00
                                                                                      [ALL] Non-OEB Retention and Fee
02-05-2015   Confer with S. Dougherty regarding COC to SOLIC Retention App.                                              Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-10-2015   Prepare and work on OEB's 1st Interim Fee Application.                                                      Huber, Amy             1.2 $ 125.00   $     150.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-11-2015   Work on OEB's 1st Interim Fee Application.                                                                  Huber, Amy             2.2 $ 125.00   $     275.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-12-2015   Work on OEB's 1st Interim Fee Application.                                                                  Huber, Amy             1.9 $ 125.00   $     237.50
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-13-2015   Work on OEB's 1st Interim Fee Application.                                                                  Huber, Amy             0.5 $ 125.00   $      62.50
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-13-2015   Prepare and work on OEB's 2nd Monthly Fee Statement.                                                        Huber, Amy             1.0 $ 125.00   $     125.00
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-16-2015   Work on OEB's 1st Interim Fee Application.                                                                  Huber, Amy             2.5 $ 125.00   $     312.50
                                                                                      Applications
                                                                                      [ALL] OEB Retention and Fee
02-16-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                    Huber, Amy             0.1 $ 125.00   $      12.50
                                                                                      Applications




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      Date                                  Description                                                Category                 Timekeeper   Hours    Rate          Amount
                                                                                          [ALL] Non-OEB Retention and Fee
02-17-2015   Work on Proskauer's 1st Interim Fee Application.                                                                Huber, Amy        0.4 $ 125.00     $      50.00
                                                                                          Applications
02-19-2015   Confer with S. Dougherty and review Schedule F.                              [ALL] Case Administration          Huber, Amy        0.4 $ 125.00     $      50.00
                                                                                          [ALL] OEB Retention and Fee
02-19-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy        0.5 $ 125.00     $      62.50
                                                                                          Applications
             Confer with D. Klauder and S. Dougherty regarding upcoming deadline to       [ALL] OEB Retention and Fee
02-19-2015                                                                                                                   Huber, Amy        0.1 $ 125.00     $      12.50
             file Monthly Fee App.                                                        Applications
             Continue reviewing Schedule F and correspondence with S. Dougherty
02-20-2015                                                                                [ALL] Case Administration          Huber, Amy        0.3 $ 125.00     $      37.50
             regarding same.
                                                                                        [ALL] Non-OEB Retention and Fee
02-24-2015   Work on SOLIC Capital Advisors, LLC's 1st Monthly Fee Statement.                                                Huber, Amy        0.2 $ 125.00     $      25.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-24-2015   Work on OEB's Monthly Fee Invoice Statement.                                                                    Huber, Amy        0.8 $ 125.00     $     100.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-24-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy        0.5 $ 125.00     $      62.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-25-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy        1.0 $ 125.00     $     125.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-26-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy        0.3 $ 125.00     $      37.50
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
02-27-2015   Work on Proskauer's 2nd Monthly Fee Statement.                                                                  Huber, Amy        0.5 $ 125.00     $      62.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
02-27-2015   Work on OEB's 2nd Monthly Fee Statement.                                                                        Huber, Amy        0.3 $ 125.00     $      37.50
                                                                                        Applications
             Check Docket to determine if responses/objections have been filed to       [ALL] Non-OEB Retention and Fee
03-12-2015                                                                                                                   Huber, Amy       0.1    $ 125.00   $      12.50
             Proskauer's 1st Interim Fee App.                                           Applications
             Check Docket to determine if responses/objections have been filed to OEB's [ALL] OEB Retention and Fee
03-12-2015                                                                                                                   Huber, Amy       0.1    $ 125.00   $      12.50
             1st Interim Fee App.                                                       Applications
             Work on 3rd Supplemental Declaration of Jeff Marwil in Support of Debtor's [ALL] Non-OEB Retention and Fee
03-16-2015                                                                                                                   Huber, Amy       0.5    $ 125.00   $      62.50
             Application to Employ Proskauer Rose.                                      Applications
                                                                                        [ALL] OEB Retention and Fee
03-16-2015   Prepare and work on OEB's 3rd Monthly Fee Statement.                                                            Huber, Amy       0.8    $ 125.00   $     100.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNO re: Proskauer's 2nd Monthly Fee Statement.                                                          Huber, Amy       0.2    $ 125.00   $      25.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-23-2015   Work on CNO re: SOLIC's 1st Monthly Fee Statement.                                                              Huber, Amy       0.2    $ 125.00   $      25.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
03-23-2015   Prepare and work on CNO re: OEB's 2nd Monthly Fee Statement.                                                    Huber, Amy       0.6    $ 125.00   $      75.00
                                                                                        Applications
                                                                                        [ALL] Non-OEB Retention and Fee
03-26-2015   Work on SOLIC's 1st Monthly Fee Statement.                                                                      Huber, Amy       0.3    $ 125.00   $      37.50
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
03-26-2015   Work on OEB's 3rd Monthly Fee Statement.                                                                        Huber, Amy       1.2    $ 125.00   $     150.00
                                                                                        Applications
                                                                                        [ALL] OEB Retention and Fee
03-31-2015   Work on OEB's 3rd Monthly Fee Statement.                                                                        Huber, Amy       0.9    $ 125.00   $     112.50
                                                                                        Applications



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      Date                                   Description                                                 Category                  Timekeeper   Hours   Rate         Amount
                                                                                            [ALL] Non-OEB Retention and Fee
04-01-2015   Prepare Proskauer Rose's 3rd Monthly Fee Statement for filing.                                                    Huber, Amy         0.6 $ 125.00   $      75.00
                                                                                            Applications
                                                                                            [ALL] Non-OEB Retention and Fee
04-09-2015   Prepare Michael A. Firestein's Pro Hac Vice Motion.                                                               Huber, Amy         0.5 $ 125.00   $      62.50
                                                                                            Applications
04-16-2015   Review Order Scheduling Omnibus Hearing Dates.                                 [ALL] Case Administration          Huber, Amy         0.1 $ 125.00   $      12.50
                                                                                            [ALL] Non-OEB Retention and Fee
04-20-2015   Prepare CNO re: SOLIC's 2nd Monthly Fee Statement for filing.                                                     Huber, Amy         0.4 $ 125.00   $      50.00
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-20-2015   Prepare CNO re: OEB's 3rd Monthly Fee Statement.                                                                  Huber, Amy         0.7 $ 125.00   $      87.50
                                                                                            Applications
                                                                                            [ALL] Non-OEB Retention and Fee
04-21-2015   Prepare SOLIC Capital Advisors' 3rd Monthly Fee Statement for filing.                                             Huber, Amy         0.6 $ 125.00   $      75.00
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-23-2015   Confer with S. Dougherty regarding preparation of monthly fee statement.                                          Huber, Amy         0.1 $ 125.00   $      12.50
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-23-2015   Review OEB's January 2015 Monthly Fee Statement.                                                                  Huber, Amy         0.3 $ 125.00   $      37.50
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-24-2015   Prepare OEB's Monthly Fee Invoice Statement.                                                                      Huber, Amy         0.3 $ 125.00   $      37.50
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-24-2015   Edit CNO re: OEB's 3rd Monthly Fee Statement.                                                                     Huber, Amy         0.3 $ 125.00   $      37.50
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-28-2015   Prepare OEB's 4th Monthly Fee Statement for March 2015.                                                           Huber, Amy         1.4 $ 125.00   $     175.00
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-29-2015   Edit OEB's 4th Monthly Fee Statement for March 2015.                                                              Huber, Amy         1.1 $ 125.00   $     137.50
                                                                                            Applications
             Confer with S. Dougherty regarding OEB's 4th Monthly Fee Statement for         [ALL] OEB Retention and Fee
04-29-2015                                                                                                                     Huber, Amy         0.1 $ 125.00   $      12.50
             March 2015.                                                                    Applications
                                                                                            [ALL] OEB Retention and Fee
04-30-2015   Conver with S. Dougherty and E. deVincentis regarding LEDES invoice.                                              Huber, Amy         0.1 $ 125.00   $      12.50
                                                                                            Applications
             Review Retained Professionals Payment Process relating to                      [ALL] OEB Retention and Fee
04-30-2015                                                                                                                     Huber, Amy         0.1 $ 125.00   $      12.50
             Review/Objection Period.                                                       Applications
                                                                                            [ALL] OEB Retention and Fee
04-30-2015   Edit OEB's 4th Monthly Fee Statement for March 2015.                                                              Huber, Amy         0.5 $ 125.00   $      62.50
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-30-2015   Coordinate the filing of OEB's 4th Monthly Fee Statement for March 2015.                                          Huber, Amy         0.2 $ 125.00   $      25.00
                                                                                            Applications
Subtotal                                                                                                                       Huber, Amy        33.1 $ 125.00   $ 4,137.50


                                                                                            [ALL] Case Administration
01-05-2015   Emails with UST and Proskauer re: UST retention issues and call re: same                                          Klauder, David     0.2 $ 350.00   $      70.00
                                                                                            [ALL] Non-OEB Retention and Fee
01-05-2015   Discuss pro hac orders with S. Dougherty                                       Applications                       Klauder, David     0.1 $ 350.00   $      35.00
01-06-2015   Review pro hac orders and discuss with S. Dougherty                            [ALL] Case Administration          Klauder, David     0.1 $ 350.00   $      35.00
01-06-2015   Emails with UST the: rescheduling of conference call                           [ALL] Case Administration          Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            [ALL] Non-OEB Retention and Fee
01-06-2015   Conference call with co-counsel re: retention app                              Applications                       Klauder, David     0.2 $ 350.00   $      70.00



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      Date                                  Description                                                  Category                      Timekeeper   Hours   Rate         Amount
             Emails with co-counsel re: UST edits to retention and make changes to          [ALL] Non-OEB Retention and Fee
01-06-2015   proposed order                                                                 Applications                           Klauder, David     0.4 $ 350.00   $     140.00
                                                                                            [ALL] OEB Retention and Fee
01-06-2015   Email to UST re: conference call on retention app                              Applications                           Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            [ALL] OEB Retention and Fee
01-06-2015   Emails with UST re: retention app conference call                              Applications                           Klauder, David     0.1 $ 350.00   $      35.00
             Emails with S. Dougherty to coordinate further conference call with UST and
                                                                                         [ALL] Case Administration
01-07-2015   co-counsel                                                                                                            Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-07-2015   Review retention app papers in anticipation of conference call with UST     Applications                              Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-07-2015   Conference call with co-counsel and UST re: retention apps                  Applications                              Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         [ALL] OEB Retention and Fee
01-07-2015   Review retention app papers in anticipation of conference call with UST     Applications                              Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         [ALL] OEB Retention and Fee
01-07-2015   Conference call with co-counsel and UST re: retention apps                  Applications                              Klauder, David     0.2 $ 350.00   $      70.00
                                                                                         [ALL] OEB Retention and Fee
01-07-2015   Revisions to retention order                                                Applications                              Klauder, David     0.2 $ 350.00   $      70.00
                                                                                            [ALL] Plan and Disclosure Statements
01-07-2015   Review various bidding procedures motions and objections                                                              Klauder, David     0.3 $ 350.00   $     105.00
01-08-2015   Review filings by Munger Tolles                                                  [ALL] Case Administration            Klauder, David     0.2 $ 350.00   $      70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Emails and phone call with Pete Young re: supp declaration                       Applications                         Klauder, David     0.2 $ 350.00   $      70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Review Proskauer supp declaration                                                Applications                         Klauder, David     0.2 $ 350.00   $      70.00
             Review email from Pete Young to UST re: revised orders and supp                  [ALL] Non-OEB Retention and Fee
01-08-2015   declaration                                                                      Applications                         Klauder, David     0.1 $ 350.00   $      35.00
             Emails and phone call with Pete Young re: supp declaration filing and            [ALL] Non-OEB Retention and Fee
01-08-2015   proposed orders for retention                                                    Applications                         Klauder, David     0.1 $ 350.00   $      35.00
             Prep revised retention papers for filing and coordinate edits of same with A. [ALL] Non-OEB Retention and Fee
01-08-2015   Huber                                                                            Applications                         Klauder, David     0.5 $ 350.00   $     175.00
             Emails and phone call with Pete Young re: revised retention papers for           [ALL] Non-OEB Retention and Fee
01-08-2015   Proskauer                                                                        Applications                         Klauder, David     0.1 $ 350.00   $      35.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Draft and edit notices of filing for proposed orders for retentions of Proskauer Applications                         Klauder, David     0.3 $ 350.00   $     105.00
             Coordinate filing of notices of filing for proposed order for retention of
                                                                                              [ALL] Non-OEB Retention and Fee
             Proskauer and second supp declaration and various discussions with S.
                                                                                              Applications
01-08-2015   Dougherty re: same                                                                                                    Klauder, David     0.2 $ 350.00   $      70.00
                                                                                              [ALL] Non-OEB Retention and Fee
01-08-2015   Emails with Proskauer re: filing of supplemental retention papers                Applications                         Klauder, David     0.1 $ 350.00   $      35.00
                                                                                              [ALL] OEB Retention and Fee
01-08-2015   Review revised OEB order and send to Pete Young                                  Applications                         Klauder, David     0.1 $ 350.00   $      35.00




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      Date                                    Description                                                Category                      Timekeeper   Hours   Rate         Amount
             Emails and phone call with Pete Young re: supp declaration filing and          [ALL] OEB Retention and Fee
01-08-2015   proposed orders for retention                                                  Applications                           Klauder, David     0.1 $ 350.00   $      35.00
             Prep revised retention papers for filing and coordinate edits of same with A.  [ALL] OEB Retention and Fee
01-08-2015   Huber                                                                          Applications                           Klauder, David     0.6 $ 350.00   $     210.00
                                                                                            [ALL] OEB Retention and Fee
01-08-2015   Emails and phone call with Pete Young re: revised retention papers for OEB Applications                               Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            [ALL] OEB Retention and Fee
01-08-2015   Draft and edit notices of filing for proposed orders for retention of OEB      Applications                           Klauder, David     0.3 $ 350.00   $     105.00
             Coordinate filing of notices of filing for proposed order for retention of OEB
                                                                                            [ALL] OEB Retention and Fee
             and second supp declaration and various discussions with S. Dougherty re:
                                                                                            Applications
01-08-2015   same                                                                                                                  Klauder, David     0.3 $ 350.00   $     105.00
             Review final notices for proposed order and discussions with S. Dougherty [ALL] OEB Retention and Fee
01-08-2015   re: same                                                                       Applications                           Klauder, David     0.3 $ 350.00   $     105.00
                                                                                            [ALL] OEB Retention and Fee
01-08-2015   Review email from fee committee with various fee app guidelines                Applications                           Klauder, David     0.3 $ 350.00   $     105.00
01-09-2015   Review notice of agenda for 1/13 hearing and send to co-counsel                [ALL] Case Administration              Klauder, David     0.2 $ 350.00   $      70.00
                                                                                            [ALL] OEB Retention and Fee
01-09-2015   Emails with Epiq re: service of revised retention papers                       Applications                           Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            [ALL] Non-OEB Retention and Fee
01-11-2015   Review TCEH committee objection to Greenhill retention                         Applications                           Klauder, David     0.2 $ 350.00   $      70.00
01-12-2015   Coordinate hearing binders for 1/13 hearing                                    [ALL] Case Administration              Klauder, David     0.2 $ 350.00   $      70.00
01-12-2015   Review amended agenda                                                          [ALL] Case Administration              Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            [ALL] Non-OEB Retention and Fee
01-12-2015   Review retention app and accompanying documents in prep for 1/13 hearing Applications                                 Klauder, David     0.1 $ 350.00   $      35.00
             Review UST statement in response to retention app and emails with co-          [ALL] Non-OEB Retention and Fee
01-12-2015   counsel re: same                                                               Applications                           Klauder, David     0.2 $ 350.00   $      70.00
                                                                                            [ALL] Non-OEB Retention and Fee
01-12-2015   Review proposed order for retention of Greenhill                               Applications                           Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            [ALL] OEB Retention and Fee
01-12-2015   Review retention app and accompanying documents in prep for 1/13 hearing Applications                                 Klauder, David     0.1 $ 350.00   $      35.00
             Review UST statement in response to retention app and emails with co-          [ALL] OEB Retention and Fee
01-12-2015   counsel re: same                                                               Applications                           Klauder, David     0.2 $ 350.00   $      70.00
             Meet with co-counsel and debtor's counsel after 1/13 hearing in Bankruptcy
                                                                                            [ALL] Case Administration
01-13-2015   Court                                                                                                                 Klauder, David     0.5 $ 350.00   $     175.00
             Voicemail from Indiana taxing authority re: service of filings and coordinate
                                                                                            [ALL] Case Administration
01-13-2015   response with S. Dougherty                                                                                            Klauder, David     0.1 $ 350.00   $      35.00
             Prep for 1/13 hearing including retention apps and meet with co-counsel
01-13-2015   prior to hearing                                                               [ALL] Hearings                         Klauder, David     0.9 $ 350.00   $     315.00
01-13-2015   Attend and participate in 1/13 hearing in Bankruptcy Court                     [ALL] Hearings                         Klauder, David     2.6 $ 350.00   $     910.00
             Review COC and proposed bidding procedures order along with minutes of
                                                                                            [ALL] Plan and Disclosure Statements
01-13-2015   EFH disinterested directors meeting                                                                                   Klauder, David     0.3 $ 350.00   $     105.00
                                                                                            [ALL] OEB Retention and Fee
01-14-2015   Emails with S. Dougherty and A. Huber re: fee committee/fee app prep           Applications                           Klauder, David     0.1 $ 350.00   $      35.00



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      Date                                 Description                                                Category                       Timekeeper   Hours Rate         Amount
01-15-2015   Review amended notice of appointment of creditors committee                 [ALL] Case Administration               Klauder, David     0.1 $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-15-2015   Emails with Pete Young re: FA retention                                     Applications                            Klauder, David     0.1 $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-15-2015   Review retention app for SOLIC                                              Applications                            Klauder, David     0.5 $ 350.00   $   175.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-15-2015   Review RLF fee app and compare with fee app guidelines                      Applications                            Klauder, David     0.4 $ 350.00   $   140.00
             Review SOLIC financial advisor retention app and emails with co-counsel re: [ALL] Non-OEB Retention and Fee
01-16-2015   same                                                                        Applications                            Klauder, David     0.3 $ 350.00   $   105.00
             Draft notice of SOLIC financial advisor retention app and emails with A.    [ALL] Non-OEB Retention and Fee
01-16-2015   Huber re: prep for filing of same                                           Applications                            Klauder, David     0.4 $ 350.00   $   140.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Review and edit SOLIC financial retention app and coordinate for filing     Applications                            Klauder, David     0.9 $ 350.00   $   315.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with S. Dougherty re: service of SOLIC retention app                 Applications                            Klauder, David     0.1 $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Various emails with Epiq and J. Madron re: service of SOLIC retention app Applications                              Klauder, David     0.3 $ 350.00   $   105.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with co-counsel re: filing and service of SOLIC retention app        Applications                            Klauder, David     0.1 $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
01-16-2015   Emails with co-counsel re: service of SOLIC retention app                   Applications                            Klauder, David     0.1 $ 350.00   $    35.00
                                                                                         [ALL] OEB Retention and Fee
01-16-2015   Review fee committee guidelines and interim comp order                      Applications                            Klauder, David     0.4 $ 350.00   $   140.00
             Discussion with S. Dougherty and A. Huber re: fee committee guidelines and [ALL] OEB Retention and Fee
01-16-2015   prep of fee apps                                                            Applications                            Klauder, David     0.5 $ 350.00   $   175.00
                                                                                         [ALL] OEB Retention and Fee
01-19-2015   Review engagement letter re: fee statements                                 Applications                            Klauder, David     0.1 $ 350.00   $    35.00
01-20-2015   Review committee reservation of rights re: asbestos claims                  [ALL] Case Administration               Klauder, David     0.1 $ 350.00   $    35.00
                                                                                          [ALL] Plan and Disclosure Statements
01-21-2015   Review exclusivity motion                                                                                           Klauder, David     0.2 $ 350.00   $    70.00
01-22-2015   Review agenda for 1/26 hearing                                               [ALL] Case Administration              Klauder, David     0.1 $ 350.00   $    35.00
             Review email from Pete Young re: Kirkland phone call and info on fee apps    [ALL] Non-OEB Retention and Fee
01-22-2015   and coordinate with S. Dougherty                                             Applications                           Klauder, David     0.2 $ 350.00   $    70.00
             Review email from Pete Young re: Kirkland phone call and info on fee app     [ALL] OEB Retention and Fee
01-22-2015   and coordinate with S. Dougherty                                             Applications                           Klauder, David     0.1 $ 350.00   $    35.00
                                                                                          [ALL] Non-OEB Retention and Fee
01-23-2015   Conference call with Kirkland and other counsel re: fee app procedures       Applications                           Klauder, David     0.7 $ 350.00   $   245.00
                                                                                          [ALL] OEB Retention and Fee
01-23-2015   Review emails from Kirkland with attachments re: fee app procedures          Applications                           Klauder, David     0.3 $ 350.00   $   105.00
                                                                                          [ALL] OEB Retention and Fee
01-23-2015   Discuss fee app procedures with S. Dougherty                                 Applications                           Klauder, David     0.3 $ 350.00   $   105.00
01-25-2015   Review of various filings in the case                                        [ALL] Case Administration              Klauder, David     0.2 $ 350.00   $    70.00




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      Date                                   Description                                                Category                   Timekeeper   Hours   Rate         Amount
             Voicemail from atty in Tyler, TX re: executory contract and coordinate        [ALL] Exec. Contracts & Unexpired
01-26-2015   forwarding with S. Dougherty to debtor's main counsel                         Leases                              Klauder, David     0.2 $ 350.00   $      70.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-26-2015   Review various fee filings in the case                                        Applications                        Klauder, David     0.2 $ 350.00   $      70.00
             Review debtor procedures on fee apps and discuss with S. Dougherty and        [ALL] OEB Retention and Fee
01-26-2015   office mgr                                                                    Applications                        Klauder, David     0.5 $ 350.00   $     175.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-27-2015   Emails with co-counsel re: fee apps and budgeting issues                      Applications                        Klauder, David     0.2 $ 350.00   $      70.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-28-2015   Review email from co-counsel re: budgeting and fee apps                       Applications                        Klauder, David     0.2 $ 350.00   $      70.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-28-2015   Review Cravath fee app                                                        Applications                        Klauder, David     0.1 $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Discuss preparation of fee app with S. Dougherty                              Applications                        Klauder, David     0.1 $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Review email from Kirkland re: fee app prep                                   Applications                        Klauder, David     0.1 $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
01-28-2015   Discussions with S. Dougherty and Eva re: time entries and fee app prep       Applications                        Klauder, David     0.3 $ 350.00   $     105.00
                                                                                           [ALL] OEB Retention and Fee
01-29-2015   Review time entries and discuss fee app prep with S. Dougherty and Eva        Applications                        Klauder, David     0.3 $ 350.00   $     105.00
             Emails and voicemail with UST and co-cousnel re: SOLIC retention app and [ALL] Non-OEB Retention and Fee
01-30-2015   obj deadline                                                                  Applications                        Klauder, David     0.3 $ 350.00   $     105.00
             Review of Proskauer's first monthly fee stmt and emails with co-counsel re: [ALL] Non-OEB Retention and Fee
01-30-2015   same                                                                          Applications                        Klauder, David     0.3 $ 350.00   $     105.00
             Final review and editing of Proskauer fee stmts and coordinate filing and     [ALL] Non-OEB Retention and Fee
01-30-2015   service of same                                                               Applications                        Klauder, David     0.4 $ 350.00   $     140.00
                                                                                           [ALL] Non-OEB Retention and Fee
01-30-2015   Emails with co-counsel re: filing of Proskauer fee stmts                      Applications                        Klauder, David     0.1 $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
01-30-2015   Review of OEB's first monthly fee stmt and coordinate prep of same            Applications                        Klauder, David     0.5 $ 350.00   $     175.00
             Various emails and discussions with S. Dougherty re: drafting of OEB          [ALL] OEB Retention and Fee
01-30-2015   monthly fee stmt                                                              Applications                        Klauder, David     0.3 $ 350.00   $     105.00
             Final review and editing of OEB fee stmt and coordinate filing and service of [ALL] OEB Retention and Fee
01-30-2015   same                                                                          Applications                        Klauder, David     0.4 $ 350.00   $     140.00
                                                                                           [ALL] Non-OEB Retention and Fee
02-03-2015   Review Munger Tolles fee stmt                                                                                     Klauder, David     0.1 $ 350.00   $      35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
02-03-2015   Phone call with UST re: SOLIC retention app                                                                       Klauder, David     0.1 $ 350.00   $      35.00
                                                                                           Applications
02-03-2015   Review WSFS objection to exclusivity                                         [ALL] Plan and Disclosure Statements Klauder, David     0.1 $ 350.00   $      35.00

02-04-2015   Review exclusivity objections                                                [ALL] Plan and Disclosure Statements Klauder, David     0.2 $ 350.00   $      70.00




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      Date                                    Description                                           Category                        Timekeeper   Hours   Rate         Amount
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Review and respond to email from UST re: SOLIC retention app comments                                             Klauder, David      0.2 $ 350.00   $      70.00
                                                                                       Applications
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Emails with co-counsel re: SOLIC retention app and UST comments                                                   Klauder, David      0.2 $ 350.00   $      70.00
                                                                                       Applications
             Review revised retention order for SOLIC and emails with co-counsel and   [ALL] Non-OEB Retention and Fee
02-05-2015                                                                                                                     Klauder, David      0.3 $ 350.00   $     105.00
             UST re: same                                                              Applications
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Further emails with UST and co-counsel re: sign off of SOLIC retention                                            Klauder, David      0.1 $ 350.00   $      35.00
                                                                                       Applications
             Review and edit COC for SOLIC retention and coordinate prep and filing of [ALL] Non-OEB Retention and Fee
02-05-2015                                                                                                                     Klauder, David      0.4 $ 350.00   $     140.00
             same with S. Dougherty                                                    Applications
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Emails with J. Madron at RLF re: COC for SOLIC retention a                                                        Klauder, David      0.1 $ 350.00   $      35.00
                                                                                       Applications
                                                                                       [ALL] Non-OEB Retention and Fee
02-05-2015   Review UCC professionals fee apps                                                                                 Klauder, David      0.1 $ 350.00   $      35.00
                                                                                       Applications
02-05-2015   Review EFH committee response to exclusivity                                  [ALL] Plan and Disclosure Statements Klauder, David     0.1 $ 350.00   $      35.00
02-06-2015   Emails with co-counsel re: 2/10 hearing                                       [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00
02-06-2015   Review notice of agenda for 2/10 hearing                                      [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00
                                                                                           [ALL] Non-OEB Retention and Fee
02-06-2015   Review signed SOLIC retention order and emails with co-counsel re: same                                           Klauder, David      0.2 $ 350.00   $      70.00
                                                                                           Applications
02-06-2015   Review exclusivity papers filed by debtor, including revised order            [ALL] Plan and Disclosure Statements Klauder, David     0.1 $ 350.00   $      35.00

02-06-2015   Review reservation of rights on exclusivity                                   [ALL] Plan and Disclosure Statements Klauder, David     0.1 $ 350.00   $      35.00

02-08-2015   Review response to exclusivity                                                [ALL] Plan and Disclosure Statements Klauder, David     0.1 $ 350.00   $      35.00
02-09-2015   Emails with co-counsel and S. Dougherty re: attendance at 2/10 hearing        [ALL] Case Administration           Klauder, David      0.2 $ 350.00   $      70.00
02-09-2015   Review amended agenda for 2/10 hearing                                        [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00
             Review of interim fee app guidelines and calendar and discuss with S.         [ALL] Non-OEB Retention and Fee
02-09-2015                                                                                                                     Klauder, David      0.2 $ 350.00   $      70.00
             Dougherty                                                                     Applications
                                                                                           [ALL] OEB Retention and Fee
02-09-2015   Review letter from fee committee re: first monthly fee stmt                                                       Klauder, David      0.1 $ 350.00   $      35.00
                                                                                           Applications
02-09-2015   Review debtor reply to exclusivity responses                                  [ALL] Plan and Disclosure Statements Klauder, David     0.2 $ 350.00   $      70.00
02-10-2015   Emails with co-counsel and S. Dougherty re: transcript for 2/10 hearing       [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00
02-10-2015   Prep for court                                                                [ALL] Case Administration           Klauder, David      0.4 $ 350.00   $     140.00
02-10-2015   Attend hearing on exclusivity and other omnibus matters                       [ALL] Case Administration           Klauder, David      2.1 $ 350.00   $     735.00
                                                                                           [ALL] OEB Retention and Fee
02-10-2015   Discuss interim fee app with S. Dougherty                                                                         Klauder, David      0.2 $ 350.00   $      70.00
                                                                                           Applications
02-12-2015   Review docket for hearing list                                                [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00
02-12-2015   Emails with S. Dougherty re: 2/10 hearing transcript                          [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00
02-12-2015   Review of agenda for 2/17 hearing                                             [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00
02-12-2015   Review transcript for 2/10 hearing and emails to co-counsel re: same          [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $      35.00



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      Date                                 Description                                                Category                 Timekeeper   Hours   Rate         Amount
                                                                                         [ALL] OEB Retention and Fee
02-12-2015   Review and edit time entries for interim fee app                                                              Klauder, David     0.2 $ 350.00   $      70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-12-2015   Review draft of interim fee app                                                                               Klauder, David     0.2 $ 350.00   $      70.00
                                                                                         Applications
02-13-2015   Review of partial lien repayment motion                                     [ALL] Case Administration         Klauder, David     0.2 $ 350.00   $      70.00
                                                                                         [ALL] OEB Retention and Fee
02-13-2015   Review interim fee app and discuss issues with S. Dougherty                                                   Klauder, David     0.4 $ 350.00   $     140.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-15-2015   Edits to interim fee app                                                                                      Klauder, David     0.5 $ 350.00   $     175.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-16-2015   Edits to first interim fee app and discuss with S. Dougherty                                                  Klauder, David     0.4 $ 350.00   $     140.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-16-2015   Review and edit first interim fee app and exhibits                                                            Klauder, David     0.3 $ 350.00   $     105.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-16-2015   Discuss blended hourly rates with E. DeVincentis                                                              Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-17-2015   Emails with co-counsel re: prep and filing of Proskauer interim fee app                                       Klauder, David     0.2 $ 350.00   $      70.00
                                                                                         Applications
             Various emails and discussions with S. Dougherty re: prep and filing of     [ALL] Non-OEB Retention and Fee
02-17-2015                                                                                                                 Klauder, David     0.2 $ 350.00   $      70.00
             Proskauer interim fee app                                                   Applications
                                                                                         [ALL] Non-OEB Retention and Fee
02-17-2015   Review and edit Proskauer interim fee app and coordinate filing of same                                       Klauder, David     0.3 $ 350.00   $     105.00
                                                                                         Applications
             Review filings for interim fee app and coordinate service of same to notice [ALL] Non-OEB Retention and Fee
02-17-2015                                                                                                                 Klauder, David     0.1 $ 350.00   $      35.00
             parties and fee committee                                                   Applications
             Various emails and discussions with S. Dougherty re: prep and filing of OEB [ALL] OEB Retention and Fee
02-17-2015                                                                                                                 Klauder, David     0.2 $ 350.00   $      70.00
             interim fee app                                                             Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Review and edit OEB interim fee app and coordinate filing of same                                             Klauder, David     0.3 $ 350.00   $     105.00
                                                                                         Applications
             Review filings for interim fee app and coordinate service of same to notice [ALL] OEB Retention and Fee
02-17-2015                                                                                                                 Klauder, David     0.1 $ 350.00   $      35.00
             parties and fee committee                                                   Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Emails with co-counsel re: filing of interim fee apps                                                         Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
02-17-2015   Review emails with Epiq re: service of fee app                                                                Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         Applications
02-18-2015   Review notice of hearing                                                    [ALL] Case Administration         Klauder, David     0.1 $ 350.00   $      35.00
             Review notice of amended schedules for EFH received from co-counsel and
02-18-2015                                                                               [ALL] Case Administration         Klauder, David     0.3 $ 350.00   $     105.00
             emails with co-counsel re: same
02-18-2015   Coordinate filing and service of notice of amended schedules for EFH        [ALL] Case Administration         Klauder, David     0.3 $ 350.00   $     105.00
                                                                                         [ALL] OEB Retention and Fee
02-18-2015   Review letter from fee committee re: budgets                                                                  Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         Applications
02-19-2015   Emails with S. Dougherty re: service of schedule amendments                 [ALL] Case Administration         Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         [ALL] OEB Retention and Fee
02-19-2015   Emails with A. Huber re: January time invoices                                                                Klauder, David     0.1 $ 350.00   $      35.00
                                                                                         Applications
02-20-2015   Review District court appeal decision                                       [ALL] Case Administration         Klauder, David     0.2 $ 350.00   $      70.00



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      Date                                  Description                                                 Category                    Timekeeper   Hours Rate          Amount
02-20-2015   Review various motions for standing to pursue causes of action                 [ALL] Case Administration           Klauder, David     0.3 $ 350.00    $   105.00
             Review emails from co-counsel re: filings for today and coordinate with S.
02-23-2015                                                                                  [ALL] Case Administration           Klauder, David     0.2 $ 350.00    $    70.00
             Dougherty on preparation
02-23-2015   Various emails with S. Dougherty re: filings for today                         [ALL] Case Administration           Klauder, David     0.2 $ 350.00    $    70.00
                                                                                            [ALL] OEB Retention and Fee
02-23-2015   Review CNOs for fee apps                                                                                           Klauder, David     0.1 $ 350.00    $    35.00
                                                                                            Applications
02-24-2015   Discuss status of open matters with S. Dougherty                               [ALL] Case Administration           Klauder, David     0.1 $ 350.00    $    35.00
             Review SOLIC monthly fee statement and discuss filing of same with S.          [ALL] Non-OEB Retention and Fee
02-24-2015                                                                                                                      Klauder, David     0.2 $ 350.00    $    70.00
             Dougherty                                                                      Applications
                                                                                            [ALL] OEB Retention and Fee
02-24-2015   Review and edit January monthly fee app                                                                            Klauder, David     0.4 $ 350.00    $   140.00
                                                                                            Applications
                                                                                            [ALL] Non-OEB Retention and Fee
02-25-2015   Review fee statement for company                                                                                   Klauder, David     0.1 $ 350.00    $    35.00
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
02-25-2015   Review January monthly fee statement                                                                               Klauder, David     0.1 $ 350.00    $    35.00
                                                                                            Applications
02-26-2015   Review second lien response to payment motion                                  [ALL] Case Administration           Klauder, David     0.2 $ 350.00    $    70.00
02-26-2015   Review response to pay down motion                                             [ALL] Case Administration           Klauder, David     0.1 $ 350.00    $    35.00
                                                                                            [ALL] OEB Retention and Fee
02-26-2015   Emails re: Jan monthly fee statement                                                                               Klauder, David     0.1 $ 350.00    $    35.00
                                                                                            Applications
                                                                                            [ALL] Non-OEB Retention and Fee
02-27-2015   Review of Proskauer fee app and coordination re: filing                                                            Klauder, David     0.3 $ 350.00    $   105.00
                                                                                            Applications
                                                                                            [ALL] Non-OEB Retention and Fee
02-27-2015   Review various emails re: filing of fee app                                                                        Klauder, David     0.1 $ 350.00    $    35.00
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
02-27-2015   Review of OEB fee app and coordination re: filing                                                                  Klauder, David     0.2 $ 350.00    $    70.00
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
02-27-2015   Review various emails re: filing of fee app                                                                        Klauder, David     0.1 $ 350.00    $    35.00
                                                                                            Applications
02-28-2015   Review of recent filings in the case                                           [ALL] Case Administration           Klauder, David      0.1 $ 350.00   $    35.00
03-03-2015   Review notice of telephonic hearing                                            [ALL] Case Administration           Klauder, David    0.1 $ 350.00     $    35.00
03-03-2015   Review various responses to standing motions                                   [ALL] Case Administration           Klauder, David    0.5 $ 350.00     $   175.00
03-04-2015   Review debtor response to standing motions                                     [ALL] Case Administration           Klauder, David    0.4 $ 350.00     $   140.00
             Review recent filings in the case, including further responses to standing
03-04-2015                                                                                  [ALL] Case Administration           Klauder, David    0.1   $ 350.00   $    35.00
             motions
03-05-2015   Review notices of hearing and various filings in the case                      [ALL] Case Administration           Klauder, David    0.2   $ 350.00   $    70.00
03-06-2015   Review fee app filings in the case                                             [ALL] Case Administration           Klauder, David    0.1   $ 350.00   $    35.00
03-06-2015   Review agenda for 3/10 hearing                                                 [ALL] Case Administration           Klauder, David    0.1   $ 350.00   $    35.00
03-09-2015   Review recent filings in the case related to 3/10 hearing including agenda     [ALL] Case Administration           Klauder, David    0.1   $ 350.00   $    35.00
03-09-2015   Emails with co-counsel re: 3/10 hearing                                        [ALL] Case Administration           Klauder, David    0.1   $ 350.00   $    35.00
03-09-2015   Coordinate appearances of co-counsel for 3/10 hearing                          [ALL] Case Administration           Klauder, David    0.3   $ 350.00   $   105.00
03-09-2015   Review revised partial repayment order                                         [ALL] Case Administration           Klauder, David    0.1   $ 350.00   $    35.00
                                                                                            [ALL] OEB Retention and Fee
03-09-2015   Review of email and memo from Fee committee                                                                        Klauder, David    0.1   $ 350.00   $    35.00
                                                                                            Applications
03-10-2015   Review of amended agenda and other filings in prep for hearing                 [ALL] Case Administration           Klauder, David    0.2   $ 350.00   $    70.00



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      Date                                    Description                                            Category                    Timekeeper    Hours Rate          Amount
03-10-2015   Attend 3/10 omnibus hearing                                                 [ALL] Case Administration           Klauder, David     2.0 $ 350.00     $   700.00
03-10-2015   Review notice of continued hearing and review upcoming hearing schedule     [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         [ALL] OEB Retention and Fee
03-10-2015   Review fee committee's recent memo on rate increases                                                            Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         Applications
03-11-2015   Review notice of agenda for 3/13 hearing                                    [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-11-2015   Review of proposed confirmation timeline                                    [ALL] Plan and Disclosure Statements Klauder, David    0.1   $ 350.00   $    35.00

03-11-2015   Review of proposed plan term sheet                                          [ALL] Plan and Disclosure Statements Klauder, David    0.3   $ 350.00   $   105.00
03-13-2015   Review of fee app filings in the case                                       [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-16-2015   Review letters re: discovery protocol                                       [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
03-16-2015   Review Proskauer's supp declaration and coordinate filing of same                                               Klauder, David     0.2   $ 350.00   $    70.00
                                                                                         Applications
03-18-2015   Review filings in the case including letter on discovery                    [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-19-2015   Review notice of telephonic hearing                                         [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-23-2015   Review filings in the case                                                  [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         [ALL] Non-OEB Retention and Fee
03-23-2015   Emails with co-counsel re: CNOs for fee apps                                                                    Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-23-2015   Review CNOs and coordinate filing of same                                                                       Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-23-2015   Review CNOs and coordinate filing of same                                                                       Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-23-2015   Review OEB fee app information                                                                                  Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         Applications
03-24-2015   Review filings in the case                                                  [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-24-2015   Review various filings in case                                              [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-25-2015   Review debtor's lease rejection motion                                      [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-25-2015   Review notice of telephonic hearing                                         [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-26-2015   Review agenda for 3/30 hearing                                              [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00
03-26-2015   Review decision on EFIH note dispute                                        [ALL] Case Administration           Klauder, David     0.2   $ 350.00   $    70.00
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review SOLIC fee app and coordinate for filing                                                                  Klauder, David     0.2   $ 350.00   $    70.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review emails re: revisions to SOLIC fee app                                                                    Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
03-26-2015   Review edited SOLIC fee app and coordinate filing and service of same                                           Klauder, David     0.2   $ 350.00   $    70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-26-2015   Review and edit OEB fee app entries and coordinate prep of fee app                                              Klauder, David     0.2   $ 350.00   $    70.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
03-26-2015   Emails re: OEB Feb fee statement                                                                                Klauder, David     0.1   $ 350.00   $    35.00
                                                                                         Applications
03-27-2015   Review agenda for hearing                                                   [ALL] Case Administration           Klauder, David     0.1   $ 350.00   $    35.00




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      Date                                    Description                                             Category                          Timekeeper   Hours    Rate          Amount
                                                                                         [ALL] OEB Retention and Fee
03-27-2015   Review OEB monthly fee stmt                                                                                            Klauder, David    0.2    $ 350.00   $      70.00
                                                                                         Applications
03-30-2015   Review of various filings in the case                                       [ALL] Case Administration                  Klauder, David    0.1    $ 350.00   $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
03-31-2015   Emails with co-counsel re: Proskauer fee stmt                                                                          Klauder, David    0.2    $ 350.00   $      70.00
                                                                                         Applications
             Review end edit OEB Feb fee statement and coordinate filing of same with S. [ALL] OEB Retention and Fee
03-31-2015                                                                                                                          Klauder, David    0.4    $ 350.00   $     140.00
             Dougherty and C. Stephenson                                                 Applications
04-01-2015   Review responses to standing motion objections                              [ALL] Automatic Stay                       Klauder, David     0.2 $ 350.00     $      70.00
                                                                                         [ALL] Non-OEB Retention and Fee
04-01-2015   Review emails and coordinate service of fee apps                                                                       Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-01-2015   Review Proskauer fee app and coordinate for filing                                                                     Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         Applications
                                                                                         [ALL] OEB Retention and Fee
04-01-2015   Review emails and coordinate service of fee apps                                                                       Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         Applications
04-02-2015   Review filings in case, including standing motion responses                 [ALL] Case Administration                  Klauder, David     0.2 $ 350.00     $      70.00
04-02-2015   Review notice of telephonic hearing                                         [ALL] Case Administration                  Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
04-03-2015   Review committee retention app                                                                                         Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         Applications
04-07-2015   Review debtor's objection to motion to intervene                            [ALL] Case Administration                  Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         [ALL] OEB Retention and Fee
04-07-2015   Review fee committee letter re: interim fee app                                                                        Klauder, David     0.2 $ 350.00     $      70.00
                                                                                         Applications
04-08-2015   Review response by Sawyer to standing motion responses                      [ALL] Case Administration                  Klauder, David     0.1 $ 350.00     $      35.00
04-08-2015   Review agenda for April 14 hearing                                          [ALL] Case Administration                  Klauder, David     0.2 $ 350.00     $      70.00
04-09-2015   Review replies to standing motion objections                                [ALL] Case Administration                  Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         [ALL] Non-OEB Retention and Fee
04-09-2015   Coordinate filing of pro hac motion for Proskauer atty                                                                 Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         Applications
                                                                                         [ALL] Non-OEB Retention and Fee
04-09-2015   Emails with co-counsel re: pro hac motion and fee issues                                                               Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         Applications
04-10-2015   Review amended agenda for 4/14 hearing                                      [ALL] Case Administration                  Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         [ALL] OEB Retention and Fee
04-10-2015   Email with fee committee counsel re: first interim fee app                                                             Klauder, David     0.1 $ 350.00     $      35.00
                                                                                         Applications
             Phone call with Pete Young re: various aspects of case, including plan
04-10-2015                                                                               [ALL] Plan and Disclosure Statements       Klauder, David     0.2 $ 350.00     $      70.00
             negotiations and 4/14 omnibus hearing
04-10-2015   Review of motion to quash depo of Hugh Sawyer                                     [ALL] Plan and Disclosure Statements Klauder, David     0.2 $ 350.00     $      70.00
             Review amended agenda for 4/14 hearing and emails with co-counsel re:
04-13-2015                                                                                     [ALL] Case Administration            Klauder, David     0.2 $ 350.00     $      70.00
             same
04-13-2015   Coordinate with S. Dougherty prep for 4/14 hearing                                [ALL] Case Administration            Klauder, David     0.1 $ 350.00     $      35.00
             Various emails with co-counsel re: filing statement of disinterested directors
04-13-2015                                                                                     [ALL] Plan and Disclosure Statements Klauder, David     0.2 $ 350.00     $      70.00
             on proposed settlement
             Discuss coordination of filing statement of disinterested directors on
04-13-2015                                                                                     [ALL] Plan and Disclosure Statements Klauder, David     0.2 $ 350.00     $      70.00
             proposed settlement with S. Dougherty




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      Date                                      Description                                           Category                    Timekeeper        Hours   Rate         Amount
             Review statement of disinterested directors on proposed settlement and
04-13-2015                                                                               [ALL] Plan and Disclosure Statements Klauder, David          0.4 $ 350.00   $     140.00
             various exhibits
             Review and respond to emails with P. Young and Kirkland re: plan filing and
04-13-2015                                                                               [ALL] Plan and Disclosure Statements Klauder, David          0.2 $ 350.00   $      70.00
             filing of stmt of disinterested directors
             Review various letters from EFH UCC and Delaware Trust Co. re:              [ALL] Contested Matters & Advers.
04-13-2015                                                                                                                    Klauder, David          0.2 $ 350.00   $      70.00
             scheduling of EFIH litigation                                               Pro.
04-14-2015   Prep for 4/14 omnibus hearing and various emails with co-counsel re: same    [ALL] Case Administration                Klauder, David     0.9 $ 350.00   $     315.00
04-14-2015   Attend omnibus hearing                                                       [ALL] Case Administration                Klauder, David     3.4 $ 350.00   $ 1,190.00
04-14-2015   Emails with Pete Young at Proskauer re: 4/14 hearing                         [ALL] Case Administration                Klauder, David     0.1 $ 350.00   $    35.00
04-14-2015   Coordinate documents prep for hearing                                        [ALL] Case Administration                Klauder, David     0.2 $ 350.00   $    70.00
                                                                                          [ALL] OEB Retention and Fee
04-14-2015   Phone call with fee committee counsel re: OEB first interim fee app                                                   Klauder, David     0.3 $ 350.00   $     105.00
                                                                                          Applications
             Review various emails from Kirkland attorneys re: filing of plan, disc
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements   Klauder, David     0.2 $ 350.00   $      70.00
             statement and related documents
             Review EFH disinterested directors statement in support of settlement and
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements   Klauder, David     0.4 $ 350.00   $     140.00
             coordinate filing with S. Dougherty
             Various emails with P. Young re: filing and service of disinterested directors
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements   Klauder, David     0.2 $ 350.00   $      70.00
             statement in support of settlement
             Review proposed stip to continue standing motion and proposed confirmation
04-14-2015                                                                                  [ALL] Plan and Disclosure Statements   Klauder, David     0.2 $ 350.00   $      70.00
             timeline
             Email and discussion with S. Dougherty re: reporter phone call on the plan of
04-15-2015                                                                                  [ALL] Plan and Disclosure Statements   Klauder, David     0.2 $ 350.00   $      70.00
             reorg
             Review letter from counsel for indenture trustee re: plan of reorg issues and
04-16-2015                                                                                  [ALL] Plan and Disclosure Statements   Klauder, David     0.2 $ 350.00   $      70.00
             questions
                                                                                            [ALL] Contested Matters & Advers.
04-16-2015   Review of EFIH trial brief in trustee litigation                                                                      Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            Pro.
                                                                                            [ALL] Non-OEB Retention and Fee
04-20-2015   Review SOLIC fee app CNO and coordinate filing of same                                                                Klauder, David     0.2 $ 350.00   $      70.00
                                                                                            Applications
                                                                                            [ALL] OEB Retention and Fee
04-20-2015   Review letter re: monthly fee app                                                                                     Klauder, David     0.1 $ 350.00   $      35.00
                                                                                            Applications
04-20-2015   Review emails re: conference call with indenture trustee                     [ALL] Plan and Disclosure Statements Klauder, David         0.1 $ 350.00   $      35.00
                                                                                          [ALL] Non-OEB Retention and Fee
04-21-2015   Review SOLIC fee statement and coordinate filing of same                                                              Klauder, David     0.3 $ 350.00   $     105.00
                                                                                          Applications
                                                                                          [ALL] Non-OEB Retention and Fee
04-21-2015   Emails with Proskauer re: filing and service of SOLIC fee app                                                         Klauder, David     0.1 $ 350.00   $      35.00
                                                                                          Applications
04-23-2015   Meeting with bk team re: upcoming dates, deadlines and tasks                 [ALL] Case Administration                Klauder, David     0.3 $ 350.00   $     105.00
04-23-2015   Review EFH committee motions re: Oncor bids                                  [ALL] Case Administration                Klauder, David     0.2 $ 350.00   $      70.00
04-24-2015   Discuss status of open matters with S. Dougherty                             [ALL] Case Administration                Klauder, David     0.1 $ 350.00   $      35.00
             Review order denying motion to shorten of EFH Committee and send to
04-24-2015                                                                                [ALL] Case Administration                Klauder, David     0.1 $ 350.00   $      35.00
             Proskauer




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      Date                                   Description                                                Category                    Timekeeper    Hours   Rate         Amount
                                                                                           [ALL] Non-OEB Retention and Fee
04-24-2015   Review CNO for Proskauer fee app and coordinate filing of same                                                    Klauder, David       0.1 $ 350.00   $      35.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
04-24-2015   Review CNO for OEB fee app and coordinate filing of same                                                          Klauder, David       0.1 $ 350.00   $      35.00
                                                                                           Applications
                                                                                           [ALL] OEB Retention and Fee
04-24-2015   Review email from S. Dougherty with fee stmt info                                                                 Klauder, David       0.1 $ 350.00   $      35.00
                                                                                           Applications
                                                                                           [ALL] Non-OEB Retention and Fee
04-27-2015   Review Guggenheim supplemental declaration                                                                        Klauder, David       0.1 $ 350.00   $      35.00
                                                                                           Applications
04-27-2015   Review EFH Indenture Trustee objection to scheduling order                    [ALL] Plan and Disclosure Statements Klauder, David      0.2 $ 350.00   $      70.00
             Review various objections and responses to plan scheduling order, including
04-27-2015                                                                               [ALL] Plan and Disclosure Statements Klauder, David        0.3 $ 350.00   $     105.00
             EFH committee and and EFIH IT
             Review re-notice filed by EFH committee re: motion to disclose Oncor bid
04-28-2015                                                                               [ALL] Case Administration            Klauder, David        0.1 $ 350.00   $      35.00
             info
04-28-2015   Review of additional objections and responses to plan scheduling motion       [ALL] Plan and Disclosure Statements Klauder, David      0.2 $ 350.00   $      70.00
04-29-2015   Review notice of agenda for 5/4 hearing                                       [ALL] Case Administration           Klauder, David       0.2 $ 350.00   $      70.00
                                                                                           [ALL] OEB Retention and Fee
04-29-2015   Review and edit monthly fee statement                                                                             Klauder, David       0.3 $ 350.00   $     105.00
                                                                                           Applications
04-29-2015   Review notice of EFH Corp deposition                                          [ALL] Plan and Disclosure Statements Klauder, David      0.1 $ 350.00   $      35.00
             Review email from Proskauer and draft reply of disinterested directors to
04-29-2015                                                                                 [ALL] Plan and Disclosure Statements Klauder, David      0.2 $ 350.00   $      70.00
             plan scheduling motion objections
             Review final reply of disinterested directors to plan scheduling motion
04-29-2015                                                                                 [ALL] Plan and Disclosure Statements Klauder, David      0.4 $ 350.00   $     140.00
             objections and coordinate filing of same
04-29-2015   Emails with P. Young at Proskauer re: filed reply                             [ALL] Plan and Disclosure Statements Klauder, David      0.1 $ 350.00   $      35.00
04-30-2015   Review Debtor's objection to 30(b)(6) notice of depo                          [ALL] Case Administration           Klauder, David       0.1 $ 350.00   $      35.00
04-30-2015   Review re-notice of 30(b)(6) depo for EFH                                     [ALL] Case Administration           Klauder, David       0.1 $ 350.00   $      35.00
04-30-2015   Review amended agenda for 5/4 hearing                                         [ALL] Case Administration           Klauder, David       0.1 $ 350.00   $      35.00
                                                                                           [ALL] OEB Retention and Fee
04-30-2015   Final review of monthly fee stmt and coordinate filing of same                                                    Klauder, David       0.1 $ 350.00   $      35.00
                                                                                           Applications
04-30-2015   Review Debtor's reply to case protocol motion objections                      [ALL] Plan and Disclosure Statements Klauder, David      0.2 $ 350.00   $      70.00
Subtotal                                                                                                                       Klauder, David      61.8 $ 350.00   $ 21,630.00

01-13-2015   Coordinate delivery of documents for co-counsel                               [ALL] Case Administration           Stephenson, Cory     0.4 $ 120.00   $      48.00
01-23-2015   Updated client file with new documents                                        [ALL] Case Administration           Stephenson, Cory     0.1 $ 120.00   $      12.00
02-05-2015   Updated client file with new documents                                        [ALL] Case Administration           Stephenson, Cory     0.1 $ 120.00   $      12.00




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      Date                                    Description                                       Category                   Timekeeper     Hours Rate         Amount
02-06-2015    Updated client file with new documents                                [ALL] Case Administration          Stephenson, Cory     0.1 $ 120.00   $    12.00
02-12-2015    Updated client file with new documents                                [ALL] Case Administration          Stephenson, Cory     0.1 $ 120.00   $    12.00
02-16-2015    Updates client file with new documents                                [ALL] Case Administration          Stephenson, Cory     0.1 $ 120.00   $    12.00
Subtotal                                                                                                               Stephenson, Cory     0.9 $ 120.00   $   108.00

GRAND TOTAL                                                                                                                               138.6            $ 33,579.50




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